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           17           CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
           18
           19     MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                  a Delaware corporation; and
           20     CERCACOR LABORATORIES, INC.,                  APPLE’S [PROPOSED] POST-TRIAL
                  a Delaware corporation,                       FINDINGS OF FACT AND
           21                                                   CONCLUSIONS OF LAW
                                     Plaintiffs,
           22           v.
           23                                                   Trial: Nov. 5, 2024
                  APPLE INC.,                                   Hearing: January 27, 2025, 1:30 p.m.
           24     a California corporation,

           25                        Defendant.

           26
                                       REDACTED VERSION OF DOCUMENT
           27                          PROPOSED TO BE FILED UNDER SEAL
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                   CACI                  Judicial Council of California Civil Jury Instructions (2024 Ed.)
           13
                   CJI                   Court’s Jury Instructions (Dkt. 1715)
           14
                   JTX                   Joint Trial Exhibit
           15
                   PMCLF                 Plaintiffs’ Memorandum of Contentions of Law and Fact (Dkt. 2175)
           16
                   R50AO                 Court’s Rule 50(a) Order (Dkt. 1723)
           17
                   R50BO                 Court’s Rule 50(b) Order (Dkt. 1901)
           18
           19
           20
                                          Docket Locations of Written Direct Examinations
           21
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           22
           23      Diab Direct                                                  Dkt. 2290

           24      Poeze Direct                                                 Dkt. 2289

           25      Dalke Direct                                                 Dkt. 2165-3

           26      Scruggs Direct                                               Dkt. 2292
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             1
                                    Docket Locations of Written Direct Examinations
             2
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             3
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             4
             5     Madisetti Direct                           Dkt. 2385-4, 2348

             6     Kinrich Direct                             Dkt. 2385-3
             7     Clarke Direct                              Dkt. 2186
             8     Perica Direct                              Dkt. 2232-10
             9     Waydo Direct                               Dkt. 2295-5
           10      Hotelling Direct                           Dkt. 2295-1
           11      Ness Direct                                Dkt. 2295-2
           12      Sarrafzadeh Direct                         Dkt. 2296
           13
                   Webster Direct                             Dkt. 2363
           14
                   Land Direct                                Dkt. 2295-3
           15
                   Block Direct                               Dkt. 2295-4
           16
                   Warren Direct                              Dkt. 2295-6
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             1             Apple respectfully submits the following proposed findings of fact and
             2    conclusions of law.
             3                               PROPOSED FINDINGS OF FACT1
             4    I.       APPLE BEGAN WATCH DEVELOPMENT IN 2012
             5             1.    Apple is a technology company based in California, known for creating
             6    iconic consumer devices including the iPod, iPhone, iPad, and Apple Watch.
             7             2.    Apple designers and engineers came up with the idea for Apple Watch
             8    around January 2012, and Apple launched the first Watch, referred to as Series 0, in
             9    2015. Russell-Clarke Direct ¶ 15; 11/7 PM Tr. [Russell-Clarke] 147:23-148:5. Apple
           10     Watch was designed with three basic goals: (1) creating a product that people would
           11     enjoy wearing (e.g., visually appealing and uses high-quality materials), (2) allowing
           12     people to communicate electronically without having to use their phones (e.g., sending
           13     messages or receiving notifications), and (3) helping people attain health-and-wellness
           14     goals (e.g., measuring exercise). Russell-Clarke Direct ¶ 16. Beginning with Series 0,
           15     users have used Watch to communicate with others, receive notifications, manage health
           16     and wellness goals, and store photos and music. Id.; Hotelling Direct ¶ 13.
           17     II.      APPLE MADE THE MAIN DESIGN DECISIONS FOR APPLE WATCH’S OPTICAL
           18              PPG SENSOR BY JANUARY 2014
           19              3.    Before Apple Watch, Apple already had developed many types of sensors,
           20     including optical sensors, for its other products. Land Direct ¶ 9. Apple developed three
           21     optical sensors for Series 0, including an optical heart rate monitor. Land Direct ¶ 10;
           22     Hotelling Direct ¶ 10.
           23              4.    Between January 2013 and January 2014, Apple’s industrial design and
           24     engineering teams worked on various designs for the optical heart rate monitor. Land
           25     Direct ¶¶ 11-18; JTX-4667 at -767. For example, the industrial design team proposed a
           26
           27     1
                    To the extent any proposed finding of fact incorporates legal conclusions, Apple
           28     proposes them as conclusions of law. To the extent any proposed conclusion of law
                  incorporates distinct factual findings, Apple proposes them as findings of fact.
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             1    sensor design referred to internally as the “shower head.” Russell-Clarke Direct ¶ 25;
             2    Ness Direct ¶ 14; 11/8 PM Tr. [Hotelling] 74:18-75:2; JTX-49 at -345 (displaying
             3    progression of sensor design prototypes), -352 (shower head diagram). Apple had the
             4    engineering capabilities to develop an optical heart-rate sensor. E.g., JTX-316 at -707
             5    (July 2013 email from Adrian Perica to Tim Cook noting with respect to “[n]on-invasive
             6    diagnostics” that “we internally understand how to be good at these engineering
             7    disciplines”). However, Apple engineers encountered challenges in developing a sensor
             8    package with the showerhead design. Russell-Clarke Direct ¶¶ 25-26; Ness Direct ¶ 14;
             9    11/8 PM Tr. [Hotelling] 15:21-16:1. In September 2013, Bob Mansfield, Apple’s former
           10     head of hardware engineering, described the shower head design as “a mess” because
           11     the engineering team was “going around in circles” trying to develop a sensor with this
           12     configuration. JTX-337 at -429-30; 11/8 PM Tr. [Hotelling] 74:18-24. The design and
           13     product development teams also determined it would be “exceptionally hard” to
           14     manufacture the “shower head” sensor, in part because it required drilling 50 metallic
           15     contact points into sapphire. Ness Direct ¶ 14. Apple ultimately moved to sensor
           16     designs with multiple windows. Block Direct ¶¶ 12-14.
           17            5.    By December 19, 2013, over a month before Dr. Lamego started work at
           18     Apple, Apple had moved from a 3-Window design to the 4-Window design for the heart
           19     rate sensor that was ultimately used in Series 0. Land Direct ¶¶ 14-16; JTX-4682, JTX-
           20     4683 at -814-15. Apple completed the main design decisions regarding the 4-Window
           21     optical heart rate sensor by January 21, 2014. Land Direct ¶¶ 17-18; 11/8 PM Tr.
           22     [Hotelling] 79:9-16; JTX-4669 at -043; JTX-4425.01.
           23     III.   DR. LAMEGO WAS HIRED BY APPLE IN LATE JANUARY 2014, WORKED THERE
           24            FOR SIX MONTHS, AND, IN ACCORD WITH POLICIES AND EXPLICIT
           25            DIRECTIONS, DID NOT PROVIDE ANY PLAINTIFFS’ CONFIDENTIAL
           26            INFORMATION TO APPLE
           27            6.    Apple hired Dr. Lamego to work as a senior advisor on biosensing projects,
           28     reporting to Steve Hotelling, starting January 27, 2014. Hotelling Direct ¶¶ 47, 49, 58.

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             1          7.     Although Dr. Lamego is a former employee of both Plaintiffs and Apple, it
             2    is undisputed that he has not been employed by either company for over a decade.
             3          8.     Prior to working for any party, Dr. Lamego had significant technical
             4    knowledge, developed through his undergraduate and Master’s degrees in electrical
             5    engineering, his teaching as a tenured assistant professor, and his Ph.D. from Stanford
             6    University in electrical engineering. JTX-808 at -626.
             7          9.     On October 2, 2013, Dr. Lamego sent an email to Apple CEO Tim Cook to
             8    express interest in working at Apple. JTX-605 at -011-13. When Mr. Cook receives
             9    these types of emails, he “scan[s] to kind of pick up what area they might fit in, and then
           10     I try to forward it to people that I think would look at them and assess them.” Dkt. 2402-
           11     3 [Cook Dep.] 73:18-74:18.
           12           10.    Dr. Lamego’s email reached Apple executive recruiter Denby Sellers,
           13     Steve Hotelling, former Masimo employee Dr. Michael O’Reilly, and others. Dr.
           14     O’Reilly stated that Dr. Lamego “would be an incredible addition to the team,” but “most
           15     of his knowledge (that would be directly applicable to what we are doing) may be
           16     considered confidential information of Cercacor or Masimo.” JTX-605 at -010. Dr.
           17     O’Reilly’s comment “was a good alert to be extremely careful.” 11/8 PM Tr. [Hotelling]
           18     49:12-22. Apple ultimately concluded that Dr. Lamego—like most employees—could
           19     change jobs without using confidential information belonging to former employers.
           20     Hotelling Direct ¶¶ 43-44; 11/8 PM Tr. [Hotelling] 76:20-77:22.
           21           11.    Apple also considered whether recruiting Dr. Lamego would affect any
           22     potential business relationship with Plaintiffs, a prospect that Apple was internally
           23     considering at that time under the codename “Project Everest.” Hotelling Direct ¶¶ 37,
           24     44; JTX-263 at -778. Apple ultimately concluded that it could pursue the interview
           25     independent of Project Everest, as Dr. Lamego was free to interview and change jobs as
           26     he wished. Hotelling Direct ¶ 44.
           27           12.    During Dr. Lamego’s interview process, Apple took steps—as it normally
           28     does—to ensure that its interviewers did not obtain confidential information from other

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             1    companies. Hotelling Direct ¶ 57 (Apple’s interviewing practices). For example, in a
             2    November 19, 2013 email, Mr. Hotelling instructed the interview team to “[o]bviously
             3    please refrain from divulging any confidential project details, and, of course reinforce
             4    that we don’t want to hear any confidential information related to his previous
             5    employers.” JTX-4419 at -015. Dr. Lamego did not share any Masimo or Cercacor
             6    confidential information during the interview process, nor did anyone at Apple request
             7    such information. Hotelling Direct ¶ 46.
             8          13.    In joining Apple, Dr. Lamego took a step down in terms of title, but Apple
             9    expected him eventually to grow into a leadership role. Apple thus offered him a
           10     compensation package significantly higher than what is generally offered for a senior
           11     sensing scientist.    Hotelling Direct ¶ 48.        That package was consistent with
           12     compensation structures offered to others who have joined Apple from more senior
           13     positions in smaller companies, and was not to induce him to share Plaintiffs’
           14     confidential information. Id. ¶¶ 47-48; 11/8 PM Tr. [Hotelling] 57:23-58:15, 61:10-15;
           15     see also Dkt. 2402-3 [Cook Dep.] 132:15-17, 132:19-133:4 (explaining that it is
           16     fundamentally contrary to Apple’s culture to hire someone to gain access to another
           17     company’s confidential information). Apple had no interest in Plaintiff’s confidential
           18     information, and hired Dr. Lamego for his general skill set. Hotelling Direct ¶ 47.
           19           14.    In a January 24, 2014 letter to Apple, Cercacor’s lawyers (at Mr. Kiani’s
           20     direction) raised concerns about Dr. Lamego’s employment with Apple in light of his
           21     noncompete and confidentiality agreements with Plaintiffs. Kiani Direct ¶¶ 209-211;
           22     see also Hotelling Direct ¶ 54. The letter falsely accused Apple of hiring Dr. Lamego
           23     as a means to misappropriate trade secrets: “It is difficult to imagine any reason for this
           24     sequence of events other than Apple is attempting to gain access to, or at least the benefit
           25     of, Cercacor and Masimo’s trade secrets.” JTX-2937 at -093. The letter also sought to
           26     impose improper constraints on the scope of Dr. Lamego’s work at Apple, stating—
           27     without any basis for doing so—that “we trust that Apple will employ Mr. Lamego in
           28     an area that does not involve healthcare technology, including mobile health applications

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             1    and the measurement of physiological information.” Id. at -094.
             2          15.      Cercacor’s accusations that Apple intended to hire Dr. Lamego for trade
             3    secrets were false, and ignored both Apple’s general policies against using other
             4    companies’ proprietary information and Apple’s specific intentions in hiring Dr.
             5    Lamego—which had nothing to do with gaining access to trade secrets.                  While
             6    onboarding Dr. Lamego, Mr. Hotelling informed Dr. Lamego that he should not bring,
             7    rely upon, or use any confidential information from his prior employers. Hotelling
             8    Direct ¶ 49. Dr. Lamego also signed Apple’s Intellectual Property Agreement, which
             9    provides the following under the heading “Confidential Proprietary Information”:
           10                 Information of Others. You agree that during the tenure of your
           11                 employment by Apple and thereafter, you will not improperly use or
                              disclose to Apple any confidential, proprietary, or secret information
           12                 of your former employers or any other person. You further agree that
           13                 you have not and, during your employment with Apple, will not bring
                              any confidential, proprietary, or secret information of your former
           14                 employer(s) or any other person(s) onto Apple property.
           15
                  JTX-3044, at -604, -606; Hotelling Direct ¶ 51.
           16
                        16.      Apple also provided Dr. Lamego with Apple’s Business Conduct Policy,
           17
                  which provides:
           18
           19                 Third-Party Intellectual Property. It is Apple’s policy not to
                              knowingly use the intellectual property of any third party without
           20                 permission or legal right. If you are told or suspect that Apple may
           21                 be infringing an intellectual property right, including patents,
                              copyrights, trademarks, or trade secrets owned by a third party, you
           22
                              should contact the legal department.
           23
           24     JTX-4181 at -914; Hotelling Direct ¶ 52.

           25           17.      Apple made clear to Dr. Lamego “multiple times, many times” that he was

           26     not to use any confidential information of other companies in his work at Apple and Dr.

           27     Lamego “abide[d] by that provision.” 11/7 PM Tr. [Lamego] 129:7-130:16; see also id.

           28     96:24-97:14 (“So they put me in the garage and said, ‘Look, let’s talk to Marcelo very

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             1    carefully, to make sure we don’t expose ourselves to any risk.’ I think they were very
             2    careful.”).
             3          18.     The purpose of Apple’s hiring Dr. Lamego, like any senior level engineer,
             4    was to bring his general expertise to bear on certain Apple research and design projects,
             5    in the hope that working at Apple would spark innovative contributions by Dr. Lamego
             6    to those projects. To that end, on Dr. Lamego’s first day at Apple, Mr. Hotelling briefed
             7    him on Apple Watch so that Dr. Lamego could understand the state of the project and
             8    begin integrating into the biosensing group. Hotelling Direct ¶¶ 59-61; JTX-4425.01.
             9          19.     Dr. Lamego later met with engineers on the sensing team and across other
           10     groups. In the process, he contributed to technical discussions and began proposing
           11     ideas. Hotelling Direct ¶¶ 61-62; see, e.g., JTX-3657; JTX-143.
           12           20.     Several of Dr. Lamego’s ideas were basic engineering concepts that he
           13     thought might be useful for Watch. Hotelling Direct ¶¶ 63-65; Land Direct ¶ 84; JTX-
           14     3657; JTX-143.
           15           21.     Dr. Lamego also offered some innovative ideas that ultimately led to
           16     patents. That Dr. Lamego made inventive contributions soon after employment was not
           17     surprising—it is common for Apple engineers to come up with inventive ideas soon after
           18     employment because they are quickly exposed to details of Apple’s projects and come
           19     in with fresh eyes to apply their knowledge to those projects. Hotelling Direct ¶ 70.
           20           22.     Because Dr. Lamego was learning of existing Apple projects involving
           21     numerous Apple engineers, some of his ideas were contributions to larger initiatives for
           22     which Apple later filed patent applications naming Dr. Lamego as one of many co-
           23     inventors. See infra § V.
           24           23.     In the specific context of modulation/demodulation, Dr. Lamego offered
           25     certain ideas that he alone sponsored. For example, Dr. Lamego worked on the ideas
           26     described in U.S. Patent No. 10,219,754 (“’754 Patent”) while at Apple. JTX-1262;
           27     Hotelling Direct ¶¶ 75-76. The concepts in the ’754 Patent are reflected in a MATLAB
           28     script that Dr. Lamego wrote during his employment at Apple in 2014. JTX-880;

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             1    Hotelling Direct ¶¶ 77-78; see infra ¶¶ 268-270.
             2          24.      Apple did not adopt Dr. Lamego’s modulation/demodulation proposals.
             3    Sarrafzadeh Direct ¶ 32; Waydo Direct ¶¶ 42-49; 11/8 AM Tr. [Waydo] 81:22-25; 11/7
             4    PM Tr. [Lamego] 134:20-135:17; see also infra ¶¶ 157, 177, 205.
             5          25.      Dr. Lamego worked for Apple for just six months. During that time, he
             6    struggled with not having a leadership position and with the challenge of adapting to
             7    Apple’s culture of large-scale collaboration. Hotelling Direct ¶¶ 79-80; JTX-4429.
             8          26.      Dr. Lamego voluntarily ended his work at Apple in July 2014. Hotelling
             9    Direct ¶ 82.
           10           27.      No Apple employee believed (or suspected) that Dr. Lamego shared any of
           11     Plaintiffs’ confidential information during his brief employment at Apple—and in fact,
           12     he did not do so. 11/8 AM Tr. [Waydo] 84:8-13; 11/8 PM Tr. [Hotelling] 64:13-20; id.
           13     [Ness] 118:12-20; 11/7 PM Tr. [Lamego] 130:12-16.                Dr. Lamego testified
           14     unequivocally that he did “not share any confidential, proprietary or secret information
           15     from former employers or any other person with Apple.” 11/7 PM Tr. [Lamego] 129:7-
           16     130:16; id. 136:5-13 (confirming same for Plaintiffs). He further stated that he was
           17     taking care “to avoid IP conflicts.” JTX-3050 at -213; Hotelling Direct ¶ 67. Every
           18     Apple employee who testified reaffirmed that Apple did not obtain or use any
           19     confidential Masimo or Cercacor confidential information. Hotelling Direct ¶¶ 56, 83;
           20     Land Direct ¶¶ 83-84; Waydo Direct ¶¶ 60-61; Block Direct ¶¶ 16-17, 58; Ness Direct
           21     ¶ 7; Perica Direct ¶¶ 6, 19; Russell-Clarke Direct ¶ 30; 11/8 AM Tr. [Perica] 58:4-20;
           22     id. [Waydo] 83:17-84:13; 11/8 PM Tr. [Hotelling] 76:11-19; id. [Ness] 118:21-119:2.
           23     IV.   ALLEGED TRADE SECRETS
           24           28.      Plaintiffs drafted the trade secrets at issue in this case after receiving
           25     discovery from Apple. Dkt. 207 [Pls.’ Decl.] ¶ 50; Dkt. 259-2 at Ex. A [Pls.’ 10/9/20
           26     2019.210 Statement]; Dkt. 647-2 at Ex. 2 (Pls.’ 3/4/22 2019.210 Statement, redlined to
           27     show changes). In addition, Mr. Kiani confirmed “plaintiffs used at least Apple patents
           28     and publication to develop their list of trade secrets.” 11/5 AM Tr. [Kiani] 80:14-21.

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             1          29.    The alleged trade secrets—which, as discussed in detail herein, are not
             2    actually trade secrets—relate to a few tiny slivers of various technologies related to PPG.
             3    At bottom, Plaintiffs’ allegations relate to (1) a particular type of short circuit, (2) a
             4    specific use of black foam, and (3) a particular form of demodulation.
             5          A.     The Alleged Light Piping Trade Secrets
             6          30.    Non-invasive optical sensors typically include light emitting diodes (LEDs)
             7    and photodetectors. Warren Direct ¶ 16; 11/5 AM Tr. [Kiani] 82:4-7. Physiological
             8    parameters (e.g., blood oxygen saturation levels) are measured by analyzing the light
             9    that is emitted by one or more LEDs that passes through tissue and is received by the
           10     photodetector. Warren Direct ¶¶ 15-20; 11/5 AM Tr. [Kiani] 86:1-4.
           11           31.    “Light piping” (also called “light shunting” or an “optical shunt”) refers to
           12     extraneous light a photodetector receives that has not passed through tissue, which can
           13     affect accuracy (because the light provides no information about any measured
           14     physiological parameter). Warren Direct ¶¶ 25-27; 11/5 AM Tr. [Kiani] 86:5-12. Light
           15     piping can be avoided by designing non-invasive optical sensors such that a
           16     photodetector just receives emitted light that has passed through tissue. Warren Direct
           17     ¶ 31; 11/5 AM Tr. [Kiani] 86:13-16.
           18                  1.     L4
           19           32.    Plaintiffs have not presented any evidence that L4 is owned by Masimo,
           20     Cercacor, Willow, or any combination of them. E.g., 11/6 PM Tr. [Hammarth] 25:12-
           21     26:1 (Cercacor/Willow CFO unaware of any documents that would indicate whether
           22     Cercacor or Willow has any ownership interest in any of the alleged trade secrets).
           23                         a)    Plaintiffs Never Possessed The Full Scope Of L4
           24           33.
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                      All emphases added unless otherwise noted.
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             7                       b)
             8                                                              , Was Well Known Before
             9                             2014
           10           40.
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           15           41.   JTX-3887, a textbook published in 1997 by John Webster (“Webster”), is
           16     a well-known resource in PPG sensing; Professor Warren has used it to teach his classes
           17     since 2000. Warren Direct ¶ 29. Webster teaches that an “[o]ptical shunt occurs when
           18     light from the LEDs reaches the photodiodes without passing through arterial blood”
           19     and that “[s]uch an optical shunt results in either erratic or stable but inaccurate
           20     measurements.” JTX-3887 at -688-89; Warren Direct ¶ 29.
           21           42.
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           25           43.
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           28           44.   For example, JTX-3673, U.S. Patent No. 5,797,841 (“Delonzor”), was filed

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             1    in 1996, and issued in 1998 to Nellcor, Masimo’s main competitor. Kiani Direct ¶ 27
             2    (“pulse oximetry was dominated by one company, called Nellcor”); JTX-3887 at -538
             3    (Webster textbook describing Nellcor as “the market leader in pulse oximetry”).
             4          45.    Delonzor is titled “Shunt Barrier in Pulse Oximeter Sensor,” and describes
             5    two types of “shunted” light that can reach a photodetector (which it refers to as a “light
             6    pipe”): (1) unwanted light that occurs “inside the sensor body,” such as through a crack,
             7    and (2) unwanted light that “exits the sensor itself, but reaches the detector without
             8    passing through the finger,” such as light that “can go around the side of the finger.”
             9    JTX-3673 at 1:51-64, Fig. 1 (showing “Prior Art”); 11/5 AM Tr. [Kiani] 104:23-105:2,
           10     105:25-106:7 (admitting Delonzor shows it was “known as of March of 1996” that “light
           11     piping” can occur “though a crack in the sensor” and that Nellcor also “knew about light
           12     traveling around fingers” and “knew about light piping in 1996”).
           13           46.    Delonzor further explains that light piping can cause problems with respect
           14     to sensor accuracy, and teaches using optical barriers, such as those made of black foam,
           15     to reduce the amount of light piping. JTX-3673 at 3:3-5 (“It has been found that shunted
           16     light can significantly affect the accuracy of oxygen saturation readings using a pulse
           17     oximeter. Accordingly, there is a need to develop a barrier to such light to improve the
           18     accuracy of pulse oximeter sensors.”); id. at 6:35-44, Fig. 10 (describing barrier using
           19     “foam or other resilient or compressible pad” that “will compress against the tip of the
           20     finger, thus also blocking the air gap and preventing the shunting of light”).
           21           47.
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           28           48.    JTX-3778, U.S. Patent No. 8,265,724 (“Petersen”), is a Nellcor patent that

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             1    was filed in 2007, and issued in 2012, and discloses
             2
             3                                           . Warren Direct ¶¶ 41-47.
             4             49.   Petersen discussed the problem of light piping, noting that “light shunting
             5    may occur, wherein light transmitted from an emitter in the sensor may arrive at a
             6    detector without first having traveled through the patient’s tissue” and that “light
             7    shunting … may lead to inaccurate measurements.” JTX-3778 at 1:51-60; id. 4:64-5:5;
             8    Warren Direct ¶ 42; 11/13 Tr. [Warren] 112:9-113:2.
             9             50.
           10                                                                          Specifically, Petersen
           11     taught using a “false finger … made of black foam or … plastic” that
           12
           13                                                                                   JTX-3778 at
           14     6:20-29 (“Specifically, the false tissue should absorb the light that impinges on it so that
           15     any signal detected by the detector 20 may be attributed to shunting.”); id. at Fig. 4
           16     (                                                                      ); Warren Direct ¶¶
           17     43-46; 11/13 Tr. [Warren] 114:3-115:9.
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           20              51.
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           23              52.
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             1          53.
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             5          54.    Webster taught that “[t]o minimize errors, the pulse oximeter designer must
             6    attempt to limit the light reaching the photodiode to that which has traveled through the
             7    tissue containing arterial blood,” and noted “[t]his can be accomplished through
             8    thoughtful LED/photodiode placement,” the use of “light impervious barriers [] placed
             9    between LEDs and the photodiodes in all areas where the emitted light could reach the
           10     photodiodes without passing through the tissue,” “decreas[ing] the angle of incidence to
           11     the photodiode,” and “coat[ing] the housing around the photodiode with a material that
           12     does not scatter or reflect light.” JTX-3887 at -583; Warren Direct ¶ 51; 11/13 Tr.
           13     [Warren] 116:6-11.
           14           55.
           15                                                                                  P-0164 is a
           16     pulse oximeter designed by Professor Warren’s student in 2004, and JTX-3881 is an
           17     associated research poster. Warren Direct ¶ 52; 11/13 Tr. [Warren] 107:17-109:20.
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             2                           .
             3          57.   Dr. Madisetti provided no response to the substance of Professor Warren’s
             4    opinions regarding the Petersen reference beyond asserting—incorrectly—that Dr.
             5    Warren “does not opine that Petersen 2008 describes ‘Element [b]’ or ‘Element 4[c].’”
             6    Madisetti Direct ¶ 119; 11/7 AM Tr. [Madisetti] 19:6-20:13. Professor Warren testified
             7    that “Petersen … confirms … the entirety of L4, was generally known,” and explained
             8    where it discloses each aspect. Warren Direct ¶¶ 41-50. Dr. Madisetti also provided no
             9    response with respect to any of the other references that Professor Warren discussed
           10     beyond two tables with conclusory “NOs” and “Xs” to “show his disagreement.”
           11     Madisetti Direct ¶ 123; 11/7 AM Tr. [Madisetti] 19:6-20:13.
           12           58.
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             7          60.
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           11                          c)    Plaintiffs Published L4
           12           61.      Masimo published numerous patents stating
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           16           62.      JTX-4637, U.S. Patent No. 5,782,757, was filed in 1995 and is assigned to
           17     Masimo.
           18                                              “the surface of the probe is specially constructed
           19     to minimize light piping effects,” JTX-4637 at Abstract, (2) a “substrate [] constructed
           20     to minimize light piping,” id. at 3:37-38, (3) “a flex pocket [that] reduces light piping,”
           21     id. at 24:44-48, and (4) an “aperture [that] minimizes or prevents this light piping,” id.
           22     at 26:40-43.
           23
           24
           25           63.      JTX-4692, U.S. Patent No. 6,792,300, was filed in 2001, and is assigned to
           26     Masimo. It claims “[a] method of reducing light from at least one emitter which reaches
           27     a detector without non-reflectively passing through a medium” (i.e., light piping) by,
           28     inter alia, “including a light piping barrier with the disposable tape adapted to reduce

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             1    the light from the at least one emitter that reaches the detector without first being
             2    transmitted through the measurement site.” JTX-4692, claim 1.
             3
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             5          64.    JTX-3879, U.S. Patent No. 7,096,052, issued in 2006, and is assigned to
             6    Masimo. It discloses using an “optical barrier [], protruding from [the] surface,” and
             7    “noninvasively recess[ed] into the tissue such that light energy from the emitter of the
             8    first lens 108 is less likely to reach the second lens 110 without being attenuated by
             9    tissue of the measurement site.” JTX-3879 at 3:50-58, Fig. 4; Warren Direct ¶¶ 59-60.
           10           65.    JTX-3707, U.S. Patent No. 7,791,155, issued in 2010, and is assigned to
           11     Masimo. It discloses having the detector “housed in an enclosure so as to reduce light
           12     piping.” JTX-3707 at 4:31-34; Warren Direct ¶¶ 61-62.
           13           66.
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           17                         d)     No Independent Economic Value of L4
           18           67.    Plaintiffs have failed to establish that L4 derives independent economic
           19     value from being secret.
           20           68.    Plaintiffs did not offer any evidence establishing that L4 provides a distinct
           21     benefit or the time and resources that they devoted to developing L4 beyond conclusory
           22     statements. See Madisetti Direct ¶¶ 115-127; Diab Direct ¶¶ 218-219, 239-241. Dr.
           23     Madisetti relies on testimony from Mr. Kiani and Mr. Diab that merely restate the
           24     assertion that L4 is valuable because it is a secret from Plaintiffs’ competitors. Madisetti
           25     Direct ¶¶ 115-116. Dr. Warren, however, demonstrated through testimony and analysis
           26     of publications that L4 was and is generally known, undermining even the threadbare
           27     basis of Plaintiffs’ claims of value. See supra ¶¶ 40-60.
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             1                         e)                                    As Described In L4 Before
             2                               Dr. Lamego Arrived, But
             3                                                            As L4 Requires
             4          69.    Apple refers to the problem of light piping as “optical crosstalk.” Block
             5    Direct ¶ 18 (“We refer to light that reaches the detector without passing through the body
             6    to collect a usable pulse signal as ‘optical crosstalk.’”); Land Direct ¶ 28 (same).
             7          70.                                                         long before developing
             8    Apple Watch. Land Direct ¶¶ 30-31, 40-41; Warren Direct ¶¶ 68-71. For example, in
             9    2005, when Apple designed the optical proximity sensor to be used in the first iPhone,
           10     Apple added structures
           11                                                 Land Direct ¶ 29.
           12           71.    Black foam was known and used by Apple in many ways for many years
           13     before 2014,                                   Land Direct ¶¶ 30-31, 35; 11/12 PM Tr.
           14     [Land] 27:6-12; id. [Block] 86:23-87:5.
           15           72.      Apple knew early in the development of the optical heartrate sensor for
           16     Apple Watch that
           17                                        Land Direct ¶¶ 36-38; JTX-4677. Apple’s design
           18     documents—including those predating Dr. Lamego’s arrival—show that Apple
           19     designed the original Apple Watch with
           20                                             Land Direct ¶ 39; Block Direct ¶¶ 21, 28; 11/12
           21     PM Tr. [Land] 27:13-28:20; 11/13 Tr. [Block] 13:6-12; JTX-1061 at § 2.1.
           22           73.    Plaintiffs accuse Apple of misappropriating L4
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             6          74.
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           11           75.   JTX-1061 is an Apple engineering requirement specification (ERS) last
           12     revised on November 14, 2013—before Dr. Lamego’s arrival. JTX-1061 at -725; 11/13
           13     Tr. [Block] 87:19-89:3.
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           22           76.
           23
           24                                                                              11/12 PM Tr.
           25     [Land] 30:1-11; Land Direct ¶¶ 41-42; Block Direct ¶ 24.
           26           77.   As of November 2013,
           27
           28

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             1
             2                                                      11/6 PM Tr. [Madisetti] 63:14-64:24,
             3    70:4-73:12; 11/5 AM Tr. [Kiani] 81:8-83:1.
             4
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           10           78.
           11
           12             Land Direct ¶ 42; 11/12 PM Tr. [Land] 25:17-22 (Apple knew “
           13
           14
           15     30:22-31:14
           16                                       11/12 PM Tr. [Block] 92:14-24
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           18           79.
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           20                                                              .
           21           80.
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             1
             2          81.
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             5          82.   In any event, Dr. Lamego had nothing to do with
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           18           83.
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           26           84.
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             2          85.
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             6          86.
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           16           87.   This is consistent with the general understanding of engineers—as
           17     illustrated by a Masimo patent, which uses the term “photodiode detector shielding” to
           18     refer to “shield[ing] a photodiode detector from electromagnetic interference and
           19     ambient light.” JTX-3707 at 1.
           20           88.
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           22           89.
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           26
           27           90.
           28

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             8          91.   The black foam quality control test is conducted at the manufacturing
             9    facility and is only used to determine whether an assembled Apple Watch is defective
           10     (i.e., a “lemon”). Land Direct ¶¶ 46-47; Block Direct ¶ 27; 11/8 PM Tr. [Ness] 113:17-
           11     25; 11/12 PM Tr. [Land] 27:23-24, 32:16-20.
           12           92.   The black foam quality control test is used on prototypes for the same
           13     purpose: only to determine if they are defective, and not for the purpose of
           14            11/12 PM Tr. [Land] 21:13-19
           15                                                .”); 11/13 Tr. [Block] 9:12-10:3
           16
           17
           18           93.   The first-generation Apple Watch optical sensor included
           19
           20     Block Direct ¶ 28; Land Direct ¶¶ 37-39; JTX-1061 at -710. Dr. Lamego did not
           21     contribute to the design of those                in the first-generation optical sensor,
           22     which were already included in the ERS formal plan of record before Dr. Lamego joined
           23     Apple. Land Direct ¶ 39; Block Direct ¶¶ 30, 40; 11/13 Tr. [Block] 13:16-18; JTX-1061
           24     at -725. Nor did that
           25                  Block Direct ¶¶ 29, 37, 40; Warren Direct ¶¶ 77-78; 11/13 Tr. [Block]
           26     13:13-15.
           27           94.
           28

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           10           95.
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           22           96.   In sum, L4 involves nothing more than long-known and basic concepts to
           23                                    which Apple had been doing before Dr. Lamego joined
           24     the company.
           25
           26
           27                 2.     L5
           28           97.   Plaintiffs first identified L5 in this case in March 2022, when Plaintiffs

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             1    amended their list of trade secrets (more than two years after Plaintiffs filed this suit,
             2    and after years of receiving discovery from Apple). Dkt. 259-2 at Ex. A; Dkt. 647-2 at
             3    Ex. 2.
             4             98.    Plaintiffs have not presented any evidence that L5 is owned by Masimo,
             5    Cercacor, Willow, or any combination of them.
             6                          a)    Plaintiffs Only Possessed
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             8             99.
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           10                                    .
           11              100.
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           23                                                                             .
           24              101.
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           27              102.
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             7          103.
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           19           104.
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             3          105.
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             5          106.
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             9          107.
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           14           108.
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           23           109.
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             4          110.
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             8          111.
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           17           112.
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           25                        b)                               L5 and
           26                                                  Are Generally Known
           27           113.
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             1
             2             114. JTX-3808, a 1973 textbook titled “Light Emitting Diodes” by Forest Mims
             3    has an entire section on “LEDs as Detectors” that describes
             4                                                                        JTX-3808 at -677
             5    (“[S]emiconductor junctions sometimes are capable of both generating and detecting
             6    light. The LED is no exception, and it is possible to employ an LED to detect the output
             7    from a similar LED.”); Warren Direct ¶¶ 98, 100.
             8             115. JTX-4232, the Roedel reference, likewise shows
             9                                                                               JTX-4232 at
           10     -675 (                            “photon recycling, i.e., photoluminescence generated
           11     by the self-absorption of photons initially produced by a prior luminescence process”);
           12     Warren Direct ¶¶ 96, 99-100.
           13              116. Although Mims and Roedel are not specific to non-invasive, light-based
           14     physiological sensors, the principles they published were generally known in that field
           15     given the ubiquitous use of LEDs in such sensors. Warren Direct ¶ 100.
           16              117. Apple’s engineers confirmed that they
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           22              118.
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           28              119.

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           13           121. JTX-3887, Webster, taught in 1997 that “under reverse bias virtually no
           14     current will flow,” and that “while one LED is ON, the other LED is under reverse bias”
           15     to ensure it will not emit light. JTX-3887 at -564; Warren Direct ¶¶ 102-03.
           16                        c)    Plaintiffs Did Not Keep
           17                                           Secret
           18           122.
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           25           123. In fact, Masimo published the L5
           26             in JTX-4233, U.S. Patent No. 7,764,982 (“’982 patent”). Warren Direct ¶¶ 121-
           27
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             1    24; 11/13 Tr. [Warren] 94:12-96:18, 124:2-127:6.3
             2             124. Mr. Smith and Mr. Dalke are named inventors of the ’982 patent, and a
             3    certificate of correction identifies Mr. Smith as the lead inventor. JTX-4233 at -474.
             4             125. On March 1, 2006—
             5                                                                  —Masimo filed the utility
             6    application for the ’982 patent, Application No. 11/367,013, which first published on
             7    September 21, 2006 as U.S. Patent Application Publication No. 2006/0211924. JTX-
             8    4233 at -474; JTX-1206 [’924 Application].
             9             126. The ’013 utility application included numerous new disclosures missing
           10     from the earlier provisional applications. Compare JTX-1206 at [0057], [0060], [0074]-
           11     [0076], [0090]-[0091], [0099]-[0108] with JTX-5195 (Provisional Patent Application
           12     60/657596); JTX-5196 (Provisional Patent Application 60/657281); JTX-5197
           13     (Provisional Patent Application 60/657268); JTX-5198 (Provisional Patent Application
           14     60/657759). Of relevance here, the ’013 utility application added language stating: “In
           15     this manner, the resistor R2 value can be read in a similar manner that LEDs 810 (FIG.
           16     8) are activated. The diode 4220 is oriented, e.g., anode to row and cathode to column
           17     as the LEDs so as to prevent parasitic currents from unwanted activation of LEDs 810
           18     (FIG. 8).”      JTX-1206 at [0116]; JTX-4233 at 16:39-43.
           19
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           23              127.
           24                                                                                              .
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           26     3
                      This patent was admitted as JTX-4233 and JTX-3003. Apple cites JTX-4233 herein.
           27     4

           28

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             5          128. The ’982 patent
             6                                                 JTX-4233 at Fig. 8; Warren Direct ¶ 124;
             7    11/13 Tr. [Warren] 124:2-127:6.
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           12           129.
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           18                                                    .
           19                        d)     No Independent Economic Value of L5
           20           130. Plaintiffs have failed to establish that L5 derives independent economic
           21     value from being secret (which it is not).
           22           131. Plaintiffs did not offer any evidence establishing that L5 provides a distinct
           23     benefit or the time and resources that they devoted to developing L5 beyond conclusory
           24     statements.
           25
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           28     Madisetti Direct ¶ 162. This conclusory and unsupported opinion fails to recognize that

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           14                         e)   Apple Did Not Have
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           17           133. Even under Plaintiffs’ theory that L5 is an actual trade secret, Apple did not
           18     misappropriate L5 because
           19
           20
           21           134.
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           26           135. In Series 0, Apple had used the Opal PCB to drive LEDs, which involved
           27     “off-the-shelf” components                                     Block Direct ¶ 42; Land
           28     Direct ¶¶ 55, 60.

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             1          136.
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             7          137.
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           11           138.
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           18           139.
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           24           140.
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             1             141.
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             8             142.
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           15              143.
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           23              144.
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             2          145. The final versions of the ERS for each of these Apple-designed ASICs—
             3    the formal plan of record for those ASICs—
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           11           146. Plaintiffs point to an internal email exchange, JTX-541, as alleged evidence
           12     of misappropriation and disclosure of L5 to          . Madisetti Direct ¶¶ 142-45. But
           13     JTX-541
           14
           15                  A subsequent document from                 (JTX-1156) and the final ERS
           16     further confirm (as did Apple engineers)
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           19
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           22           147.
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           24           148.
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             4          149.
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           13           150.
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           23           151. In sum,
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             3          152.
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             8          B.     The Alleged Demodulation Trade Secrets
             9          153. Demodulation is a concept that has been in use for over 120 years, including
           10     in AM/FM radio. Madisetti Direct ¶¶ 35-38.
           11           154. Plaintiffs allegedly developed D1, D3, and D10, but they failed to
           12     demonstrate possession of them. Plaintiffs have not identified a single document before
           13     the case began that describes D1, D3, or D10. E.g., 11/5 AM Tr. [Kiani] 93:14-20; 11/5
           14     PM Tr. [Diab] 42:18-23; id. [Poeze] 112:3-14. Even when selectively picking excerpts
           15     from unrelated documents and source code, Plaintiffs’ possession analysis is still
           16     missing key elements. E.g., Sarrafzadeh Direct ¶¶ 41-54, 101-10, 150-64; 11/12 AM
           17     Tr. [Sarrafzadeh] 60:11-63:19, 73:24-76:10, 84:24-90:18.
           18           155. If possessed, Plaintiffs have not taken steps to maintain the secrecy of the
           19     alleged secrets. Plaintiffs published the same information in their patent publications,
           20     rendering it generally known. Sarrafzadeh Direct ¶¶ 55-75, 111-27; 11/12 AM Tr.
           21     [Sarrafzadeh] 44:7-45:12, 46:9-13, 63:20-67:3, 68:11-70:20, 76:11-81:5, 82:24-84:20.
           22           156. Plaintiffs also failed to show Apple misappropriated D1, D3, and D10, or
           23     that Plaintiffs were harmed or Apple benefitted from any alleged misappropriation.
           24     Sarrafzadeh Direct ¶¶ 76-96, 128-45, 165-75; 11/12 AM Tr. [Sarrafzadeh] 55:16-56:3,
           25     70:21-73:19, 81:6-84:20, 86:10-19.
           26           157. None of the alleged D secrets or any demodulation proposal by Dr. Lamego
           27     is used in any model of Apple Watch. Sarrafzadeh Direct ¶¶ 16, 28, 32; 11/7 AM Tr.
           28     [Madisetti] 58:20-59:13, 60:19-21. Apple’s engineers evaluated Dr. Lamego’s proposal

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             1    and determined it was not suitable for Apple Watch because it was too complex,
             2    inflexible, and would require too much power. Land Direct ¶ 79; Waydo Direct ¶¶ 41,
             3    46, 49; Hotelling Direct ¶ 68; Sarrafzadeh Direct ¶¶ 32, 89, 140; Dkt. 2266 [Kanaris
             4    Dep.] 51:4-52:6, 67:19-21, 68:1-69:5. Instead, Apple uses “dark channel subtraction”
             5    or “DCS”, that Apple developed before Dr. Lamego joined Apple. Land Direct ¶¶ 76-
             6    79, Waydo Direct ¶¶ 21-39, 42; Sarrafzadeh Direct ¶¶ 28-32; 11/7 AM Tr. [Madisetti]
             7    58:20-59:7, 60:19-21; 11/7 PM Tr. [Lamego] 135:9-17; 11/8 AM Tr. [Waydo] 68:3-5.
             8                 1.    D1
             9          158. Plaintiffs presented no evidence that D1 is owned by Masimo, Cercacor,
           10     Willow, or any combination of them. E.g., 11/6 PM Tr. [Hammarth] 25:12-26:1.
           11                        a)    Plaintiffs Failed to Establish Possession of D1
           12           159. Plaintiffs have not shown possession of D1. Sarrafzadeh Direct ¶¶ 41-54;
           13     11/12 AM Tr. [Sarrafzadeh] 60:11-63:19. To the extent Plaintiffs attempt to show
           14     possession of D1, Plaintiffs published that same information (both before and after Dr.
           15     Lamego joined Apple). Sarrafzadeh Direct ¶¶ 55-75; 11/12 AM Tr. [Sarrafzadeh]
           16     63:20-70:20. Dr. Madisetti did not identify D1 in any of Plaintiffs’ prelitigation
           17     documents or identify any product or code that practices D1 in full. Id.
           18           160.
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           26           161. Dr. Madisetti cites evidence conflating demodulation with demultiplexing,
           27     but those are distinct concepts that are not interchangeable. Sarrafzadeh Direct ¶¶ 23,
           28     46, 50; 11/12 AM Tr. [Sarrafzadeh] 61:4-62:8, 62:20-63:15.           Multiplexing and

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             1    demultiplexing are signal processing techniques for combining and separating different
             2    signals. Sarrafzadeh Direct ¶ 24. By contrast, modulation and demodulation are
             3    techniques for encoding information from a signal of interest onto a carrier signal
             4    (modulation) and then recovering the information so the signal of interest can be used.
             5    Id. ¶ 20; 1/12 AM Tr. Sarrafzadeh 56:4-24 (explaining demodulation and demultiplexing
             6    are “fundamentally and orthogonally different”). The demodulation evidence Dr.
             7    Madisetti cites cannot support possession of D1’s demultiplexing requirement.
             8          162. At trial, Plaintiffs introduced the cover pages for two source code files into
             9    evidence, JTX-5199.1 and JTX-5200.1. Neither Mr. Poeze nor Dr. Madisetti cited these
           10     exhibits in their direct testimony as purportedly showing the demultiplexing steps in D1.
           11     Mr. Poeze briefly addressed these files in his redirect testimony, but failed to link them
           12     to any of the alleged demodulation secrets. 11/6 AM Tr. [Poeze] 27:18-31:3.
           13           163.
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           26                        b)     To the Extent Possessed, D1 Was Not Reasonably Protected
           27                               and Was Generally Known
           28           164. In any event, to the extent Plaintiffs possessed D1, it was published, not

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             1    kept secret, and generally known.
             2          165. For example, JTX-3584, U.S. Patent No. 9,861,305 (“Weber 2018”)
             3    disclosed D1. Sarrafzadeh Direct ¶¶ 69-71; 11/12 AM Tr. [Sarrafzadeh] 64:14-67:3,
             4    70:7-20.
             5          166. Weber 2018 is a Masimo patent in the field of light-based physiological
             6    sensors. Sarrafzadeh Direct ¶ 67; JTX-3584 at 1:25-29.
             7          167. Dr. Madisetti did not dispute that Weber 2018 alone discloses D1.
             8    Madisetti Direct ¶ 202 (noting only that Weber 2018 issued after the purported
             9    misappropriation). 11/12 AM Tr. [Sarrafzadeh] 65:25-66:3.
           10           168. If Plaintiffs possessed D1, then they did not treat it as a trade secret due to
           11     their publication of D1 in Weber 2018—which published before Apple published the
           12                                 , and before Apple introduced the Blood Oxygen feature in
           13     Apple Watch Series 6 in 2020.
           14           169. If possessed by Plaintiffs, D1 was also disclosed in JTX-3581, U.S. Patent
           15     No. 7,003,338 (“Weber 2005”), another Masimo patent in the field of light-based
           16     physiological sensors.
           17           170.
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           27           171.
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             7                       c)      No Independent Economic Value of D1
             8          172. Plaintiffs have failed to establish that D1 derives independent economic
             9    value from being secret.
           10           173. Plaintiffs did not offer any evidence of the time and resources they devoted
           11     to developing D1 (or any alleged demodulation trade secret) specifically beyond
           12     conclusory statements. Sarrafzadeh Direct ¶ 90. Nor did Plaintiffs offer any evidence
           13     establishing that D1 (or any of the other alleged demodulation trade secrets) provides a
           14     distinct benefit, such as clinical studies or testing data comparing performance of
           15     products with and without the alleged demodulation secrets. Id. ¶ 91; Kiani Direct ¶
           16     137; Diab Direct ¶ 238; Poeze Direct ¶ 17.
           17           174. The source code for Plaintiffs’ products that Dr. Madisetti relied upon
           18                             does not contain D1. Sarrafzadeh Direct ¶ 53.
           19           175.
           20
           21
           22                        d)      No Acquisition, Use, or Disclosure of D1 by Apple
           23           176. Plaintiffs failed to establish that Dr. Lamego conveyed D1 to Apple.
           24           177. Several documents that Plaintiffs cite in an attempt to demonstrate that Dr.
           25     Lamego disclosed D1 to other Apple employees (JTX-142; JTX-143; JTX-14)
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           15              180.
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                    Dr. Madisetti also cited JTX-852, JTX-853, and JTX-855, but gave no substantive
           27     reason why these documents prove acquisition, use, or disclosure of D1. Sarrafzadeh

           28

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             1             181.
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           14              182. Apple does not use D1 (or any demodulation proposal from Dr. Lamego)
           15     in Apple Watch, and Plaintiffs’ expert conceded this point. Madisetti Direct ¶¶ 194, 205
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           19
           20                     2.    D3
           21              183. Plaintiffs presented no evidence that D3 is owned by Masimo, Cercacor,
           22     Willow, or any combination of them. E.g., 11/6 PM Tr. [Hammarth] 25:12-26:1.
           23                           a)    Plaintiffs Failed to Establish Possession of D3
           24              184. Plaintiffs failed to establish possession of the entirety of D3. Sarrafzadeh
           25     Direct ¶¶ 101-10; 11/12 AM Tr. [Sarrafzadeh] 73:24-76:10. To the extent Plaintiffs can
           26     demonstrate possession of D3, Plaintiffs made that same information publicly available
           27
           28     7
                      This patent was admitted as JTX-1262 and JTX-795. Apple uses JTX-1262 herein.
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             1    through their patents before Dr. Lamego joined Apple. Sarrafzadeh Direct ¶¶ 111-27;
             2    11/12 AM Tr. [Sarrafzadeh] 43:1-46:13, 76:11-81:5.
             3          185.
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             7          186.
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           15           187.
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           23           188.
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             1          189.
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           10           191.
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           23                        b)    To the Extent Possessed, D3 Was Not Reasonably Protected
           24                              and Was Generally Known
           25           192. To the extent it was possessed by Plaintiffs, D3 was generally known prior
           26     to 2014 based on Plaintiffs’ own publications.
           27           193.
           28

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           11                        c)       No Independent Economic Value of D3
           12           197. Plaintiffs have failed to establish that D3 derives independent economic
           13     value from being secret. Plaintiffs have not offered any evidence concerning the time
           14     and resources they purportedly devoted to developing D3 (or any alleged demodulation
           15     trade secret) specifically beyond conclusory statements. Sarrafzadeh Direct ¶¶ 136, 142.
           16           198. Nor have Plaintiffs offered any evidence establishing that D3 (or any of the
           17     other demodulation trade secrets) provides a distinct benefit, such as clinical studies or
           18     testing data comparing performance of products with and without the alleged
           19     demodulation secrets. Sarrafzadeh Direct ¶¶ 137-40; see Kiani Direct ¶ 137; Diab Direct
           20     ¶ 238; Poeze Direct ¶ 17.
           21                        d)       No Acquisition, Use, or Disclosure of D3 by Apple
           22           199. Plaintiffs have failed to establish that Dr. Lamego conveyed D3 to Apple.
           23           200. Dr. Lamego developed a technique shown in a
           24
           25
           26                      . This technique was based on well-known concepts he learned in his
           27     undergraduate education—not upon Plaintiffs’ alleged trade secrets. Sarrafzadeh Direct
           28     ¶¶ 129, 134, 169, 172; 11/7 PM Tr. [Lamego] 134:24-135:11.

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             1          201. Dr. Madisetti contends that JTX-847, in combination with JTX-880,
             2    discloses the entirety of D3. Madisetti Direct ¶¶ 212-13. It does not. Sarrafzadeh Direct
             3    ¶¶ 129, 169.
             4          202.
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             7          203.
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           14           204.
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           17           205.
           18                                                                     Apple uses DCS instead.
           19     See supra ¶ 157; Madisetti Direct ¶ 227 (only asserting Apple “explored” D3); Hotelling
           20     Direct ¶ 68; Land Direct ¶¶ 74-79; Waydo Direct ¶¶ 39-42, 49, 56; Sarrafzadeh Direct
           21     ¶¶ 16, 28, 32, 133, 140; 11/7 AM Tr. [Madisetti] 58:20-59:13, 60:19-21; 11/12 AM Tr.
           22     [Sarrafzadeh] 55:16-21, 57:8-22, 92:7-23.
           23           206.
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             3                 3.    D10
             4          207. Plaintiffs have not presented any evidence that D10 is owned by Masimo,
             5    Cercacor, Willow, or any combination of them. See, e.g., 11/6 PM Tr. [Hammarth]
             6    25:12-26:1
             7                       a)    Plaintiffs Failed to Establish Possession of D10
             8          208. Plaintiffs failed to establish possession of D10.
             9          209.
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           15           210.
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           23           211.
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           25           212.
           26                                  .
           27           213.
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             6          214.
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           10           215.
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           15           216.
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           17           217. Plaintiffs likewise have failed to show they possessed
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           19           218. Plaintiffs also have not established that Dr. Lamego invented D10 while at
           20     Cercacor. Sarrafzadeh Direct ¶¶ 166-67.
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             1             219.
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             5             220.
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           12                           b)    Publication of D10
           13              221. Plaintiffs’ then-CEO Joe Kiani conceded that D10 is no longer a secret, as
           14     it has                                   . 11/5 AM Tr. [Kiani] 114:3:-23; 4/6/23 AM Tr.
           15     [Kiani] 110:14-16; 4/11/23 PM Tr. 8:18-19 (Court holding it was “established by the
           16     record” that D10 is not a secret).9
           17              222. Plaintiffs allege that Apple
           18
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           20                           c)    No Independent Economic Value of D10
           21              223. Plaintiffs have not shown that D10 has independent economic value.
           22              224. Dr. Madisetti alleges that D10 is valuable because
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                  9
                    Plaintiffs claim that                 also discloses D1 and D3, but they did not prove
                  this at trial. See supra                                                   o longer have
           28     been trade secrets after the                                                (if they ever
                  were), for the same reason th                                              a trade secret.
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             1    55:16-21, 86:10-19, 92:7-13.
             2          225. Again, as with the other alleged demodulation trade secrets, Apple has
             3    never used D10 in any Apple product. Sarrafzadeh Direct ¶¶ 170-71; 11/12 AM Tr.
             4    [Sarrafzadeh] 55:16-21, 86:10-19; 92:7-13.
             5          C.     Plaintiffs Have Not Shown Harm From Alleged Misappropriation
             6          226. Plaintiffs have failed to adduce any evidence of harm stemming from the
             7    alleged misappropriation. The speculative harms Plaintiffs do allege have no nexus to
             8    the alleged misappropriation.
             9          227. There is no evidence of economic harm to Plaintiffs connected to what
           10     Plaintiffs contend was Apple’s misappropriation.
           11           228. Plaintiffs have failed to show that they lost sales of any Masimo or Cercacor
           12     product due to Apple’s alleged misappropriation. There is no allegation of such harm
           13     to Cercacor. 11/6 PM Tr. [Hammarth] 34:3-5 (“Q. You don’t claim that Willow or
           14     Cercacor lost business as a result of Apple releasing Apple Watch; correct? A. I don’t
           15     believe so.”), 34:6-13 (agreeing no “analysis of Willow or Cercacor losing business as
           16     a result of Apple’s release of Apple Watch”).
           17           229. Plaintiffs have failed to adduce evidence in support of their claim that
           18     Masimo “experienced a reduction in demand for its technology when Apple introduced
           19     the blood oxygen feature.” Dkt. 2218-1 (Plaintiffs’ FOF-COL) ¶ 327. Plaintiffs rely
           20     entirely on two paragraphs of Mr. Kiani’s direct for that contention—one of which was
           21     stricken by the Court; the other is conclusory and uncorroborated. Dkt. 2288 (Court’s
           22     rulings) ¶¶ 217-18 (sustaining objection). Plaintiffs failed to even identify any Masimo
           23     products in competition with Apple Watch when Apple released its Blood Oxygen
           24     feature in 2020.
           25           230. Masimo’s own W1 watch was not sold until late 2021 (in a limited release),
           26     and not sold to the general public until August 2022—long after the release of nearly all
           27     the accused products, including the Series 6 that introduced Blood Oxygen in 2020. 11/5
           28     PM Tr. [Kiani] 18:2-19:6; id. 20:17-21:11; id. 36:9-37:5; 11/6 AM Tr. [Scruggs] 71:16-

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             1    21; Madisetti Direct ¶ 16; see also JTX-785. Plaintiffs have not identified any evidence
             2    of sales of the W1 or harm to those sales.
             3          231.    Plaintiffs provided insufficient evidence from which to conclude
             4    Masimo’s W1 even practices any alleged trade secret. Plaintiffs’ only evidence is Dr.
             5    Madisetti’s conclusory say-so, uncorroborated by any documents or testimony, that the
             6    W1 allegedly “uses Trade Secrets D1 and L5.” Madisetti Direct ¶ 16.
             7          232. Plaintiffs’ only witness to testify regarding direct involvement in the
             8    development of the Masimo W1, Stephen Scruggs, was not aware of any alleged trade
             9    secret and never had access to them. Scruggs Direct ¶ 3; 11/6 AM Tr. [Scruggs] 69:22-
           10     70:2, 71:22-72:5 (“Q. Now, you understand the plaintiffs in this case are claiming that
           11     multiple alleged trade secrets have been misappropriated, correct? A. Yes. I’m not
           12     familiar with which trade secrets, but I understand this case is about trade secrets.”); id.
           13     72:16-22; id. 73:3-74:3 (confirming Plaintiffs never identified Mr. Scruggs as having
           14     access to the alleged trade secrets). Plaintiffs introduced no evidence that Masimo’s
           15     Freedom watch product has even been launched or that it uses any alleged trade secret.
           16           233. Similarly, Plaintiffs identified no evidence that Masimo’s health module
           17     practices any alleged trade secret. Dkt. 2348 at 2 (finding Plaintiffs failed to identify
           18     evidence or testimony linking the health module supplied to a third party with the health
           19     module used in the W1 watch). Even if they had, Plaintiffs adduced no evidence that
           20     they lost sales of the health module as a result of the alleged misappropriation.
           21           234. Further, Plaintiffs did not tie their allegations that Masimo was harmed by
           22     the introduction of Apple’s Blood Oxygen feature to the alleged trade secrets
           23     themselves, which are (1) not alleged to be used in Apple Watch (D1, D3, and D5), or
           24     (2) alleged to have been used in connection with Apple Watch for years before the Blood
           25     Oxygen feature was introduced (L4, L5). There is accordingly no evidence suggesting
           26     the purported misappropriation caused any sales or profits connected to Apple’s Blood
           27     Oxygen feature specifically, and therefore no evidence of any harm to Plaintiffs from
           28     those sales is attributable to the alleged trade secrets. E.g., 11/7 AM Tr. [Kinrich]

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             1    114:12-115:22 (“I have not analyzed the causation from the trade secrets themselves.”);
             2    Webster Direct ¶¶ 11-21.
             3          235. Plaintiffs also failed to show that the alleged misappropriation harmed
             4    Plaintiffs’ innovation process. PMCLF (Dkt. 1676) ¶ 76. Plaintiffs only offered Mr.
             5    Kiani’s conclusory say-so on that issue. E.g., Kiani Direct ¶ 223 (“Lamego’s behavior
             6    is already having a chilling effect on our company’s innovation.”). But that testimony
             7    is belied by Plaintiffs’ own patent activity in recent years: Plaintiffs have over 2,000
             8    patent applications currently pending with the U.S. Patent and Trademark Office. 11/5
             9    AM Tr. [Kiani] 113:5-8. No Masimo, Cercacor, or Willow engineer testified regarding
           10     any supposed chilling effect, much less a chilling effect caused by Apple’s alleged
           11     misappropriation. To the contrary, Mr. Diab was unaware what the specific allegations
           12     in the case even were, and just recently read the alleged trade secrets for the first time.
           13     11/5 PM Tr. [Diab] 42:9-23.
           14           236. Plaintiffs did not identify any evidence of harm resulting from Apple’s
           15     alleged use, disclosure, or destruction of the alleged D1, D3, or D10 trade secrets.
           16     Plaintiffs did not dispute that Apple does not use D1, D3, or D10 in any Apple product.
           17     There is no evidence to suggest any future use or disclosure either; to the contrary, the
           18     evidence confirmed Apple that has no intent to use Dr. Lamego’s rejected demodulation
           19     proposal in any future Watch product. Waydo Direct ¶ 49; 11/8 AM Tr. [Waydo] 81:22-
           20     82:4; id. 83:17-23; Land Direct ¶ 79.
           21           237. Plaintiffs conceded that D10                                              . 11/5
           22     AM Tr. [Kiani] 95:18-96:8. Plaintiffs identified no evidence that anyone has ever
           23                                                                                 . Sarrafzadeh
           24     Direct ¶¶ 170-71, 174. There cannot be future harm from disclosure of information that
           25     has already been made public.
           26           D.     The Accused Features Are Tiny Slivers of Apple’s Quality-Control
           27                  Testing and Internal Electrical Circuitry
           28           238. The PPG sensor used for measuring heart rate and blood oxygen in Apple

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             1    Watch is one among hundreds of features, functions, and applications. Hotelling Direct
             2    ¶ 9; Russell-Clarke Direct ¶ 16; 11/7 PM Tr. [Russell-Clarke] 152:11-18.
             3           239. There is no connection at all between the alleged demodulation secrets and
             4    Apple Watch; there is no dispute that the alleged demodulation secrets have never been
             5    used in any Apple Watch. Madisetti Direct ¶¶ 205 (D1), 227 (D3), 258 (D10); 11/7 AM
             6    Tr. [Madisetti] 58:20-59:7, 60:19-21; 11/7 AM Tr. [Kinrich] 114:12-17; Webster Direct
             7    ¶¶ 11-15. There is also no evidence that Apple’s implementation of DCS was changed
             8    or benefited in any way from evaluating Dr. Lamego’s proposal.
             9           240.
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           14            241.
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           20            242. Plaintiffs have adduced no evidence showing a material connection
           21     between the accused quality control test or short circuit to the Blood Oxygen feature.
           22     Both purported secrets were allegedly used by Apple for years before the Blood Oxygen
           23     feature was even introduced.
           24            243. There is no evidence that
           25                                      improved the accuracy of the optical health sensor in
           26     Apple Watch, generally, or of the Blood Oxygen feature (which was not introduced until
           27     years later), specifically.                                                           ,
           28     and Apple “did not observe any changes to the performance of the optical sensor

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             1    between Series 0 and Series 1                                     .” Block Direct ¶ 47;
             2    see also Land Direct ¶ 61
             3
             4                        .”).
             5          244. There is no evidence that Apple’s purported misappropriation of L4 or L5
             6    caused any profits attributable to the Blood Oxygen feature (or otherwise). 11/7 AM Tr.
             7    [Kinrich] 114:12-115:10 (admitting no causation analysis or attribution of Blood
             8    Oxygen profits to any feature); Webster Direct ¶¶ 11-14, 16-20.
             9    V.    APPLE PATENTED NOVEL TECHNOLOGIES
           10           245. Dr. Lamego’s work at Apple was short and, with respect to the alleged trade
           11     secrets, did not result in any contributions to the actual design and operation of Apple
           12     Watch. But Apple’s patent portfolio is not coextensive with its products, and Dr.
           13     Lamego did suggest various ideas that led to several patents.
           14           A.    ’095 and ’390 Patents
           15           246. U.S. Patent Nos. 9,952,095 (“’095 patent”), JTX-1268, and 11,009,390
           16     (“’390 patent”), JTX-1269, are both titled “Methods and Systems for Modulation and
           17     Demodulation of Optical Signals,” and they both list Dr. Lamego and Mr. Hotelling as
           18     inventors. Generally, the patents are directed to signal processing methods for optical
           19     sensors that can estimate or determine a physiological parameter of a user. JTX-1268,
           20     JTX-1269.
           21           247. The ’095 patent and ’390 patent issued on April 24, 2018 and May 18, 2021,
           22     respectively. JTX-1268; JTX-1269.
           23           248. There is no evidence that Dr. Lamego or Mr. Diab invented the subject
           24     matter claimed in the ’095 and ’390 patents while employed by Masimo or Cercacor.
           25     Mr. Hotelling and Dr. Lamego collaborated on the ideas disclosed in these inventions
           26     during Dr. Lamego’s employment at Apple. Hotelling Direct ¶ 74. As one example, the
           27     block diagrams in Figure 4 of both the ’095 and ’390 patents are reflected in Apple’s
           28     brainstorming sessions summarized in JTX-3657.            Hotelling Direct ¶¶ 72-78;

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             1    Sarrafzadeh Direct ¶ 200.
             2          249. There is no evidence that Mr. Diab contributed anything to the ’095 and
             3    ’390 patents. Mr. Diab did not even mention either patent in his direct testimony. See
             4    generally, Diab Direct.
             5          250. Dr. Madisetti testified that Mr. Diab made inventive contributions to the
             6    ’095 and ’390 patents based on disclosures in U.S. Patent No. 5,632,272 (“’272 patent”),
             7    which was issued in 1997, and lists six named inventors including Mr. Diab, JTX-1267,
             8    and U.S. Patent Publication No. 2006/0211924 (“’924 publication”), which was
             9    published in 2006 and lists five named inventors including Mr. Diab, JTX-1206.
           10           251. Because the ’272 patent and ’924 publication issued several years prior to
           11     the ’095 and ’390 patents, the information would have been known by a skilled artisan
           12     before the ’095 and ’390 patents were conceived. Sarrafzadeh Direct ¶ 197; 11/12 AM
           13     Tr. [Sarrafzadeh] 91:20-92:6.
           14           252. Moreover, there is no evidence that Mr. Diab himself (as opposed to one of
           15     the other named inventors) conceived of any of the claim limitations that Dr. Madisetti
           16     relies upon. Sarrafzadeh Direct ¶ 198
           17           253. The only concepts from the ’272 patent and ’924 publication that Dr.
           18     Madisetti asserts Mr. Diab invented are well-known aspects of a physiological sensor,
           19     such as use of LEDs and photodiodes, a high-pass filter, transimpedance amplifier,
           20     programmable gain amplifier, and analog-to-digital converters. Sarrafzadeh Direct ¶
           21     199. Mr. Diab concedes that these constitute only basic building blocks of a pulse
           22     oximeter. Diab Direct § V.
           23           254. Nor is there any evidence that Mr. Diab communicated with Dr. Lamego
           24     or Mr. Hotelling regarding the concepts in the ’095 patent or the ’390 patent during the
           25     period in which those concepts were being developed. Sarrafzadeh Direct ¶ 198. Mr.
           26     Diab himself provided no affirmative testimony that he was in fact an inventor of the
           27     ideas in the ’095 patent or the ’390 patent. Id. ¶¶ 194-95; see generally Diab Direct.
           28

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             1          B.     ’052 and ’670 Patents
             2          255. U.S. Patent No. 10,078,052 (“’052 patent”) and U.S. Patent No. 10,247,670
             3    (“’670 patent”) issued on September 18, 2018, and April 2, 2019, respectively. JTX-
             4    1239; JTX-1241.
             5          256. The named inventors on the ’052 and ’670 patents are Trevor Ness, Chin
             6    San Han, David Nazzaro, Marcelo Lamego, Naoto Matsuyuki, and Wolf Oetting. JTX-
             7    1239; JTX-1241.
             8          257. As noted in the Abstracts, the inventions in these patents are directed to “[a]
             9    reflective coating, surface, or surface finish [that] can be applied adjacent to the area to
           10     which light is emitted and/or through which light exits in order to increase the light
           11     collected by the light detector. The reflective coating can be oriented so as to reflect
           12     light back into the object.” JTX-1239; JTX-1241.
           13           258. At a high level, the patents describe ways in which Apple used reflective
           14     treatment on the back of Apple Watch to improve the accuracy of the heart rate sensor.
           15     Ness Direct ¶ 20.
           16           259. The named inventors conceived of the claimed inventions of the ’052 and
           17     ’670 patents at Apple in February 2014, during work on Apple Watch. Ness Direct ¶¶
           18     20, 31; Warren Direct ¶ 158; see also JTX-40, JTX-45 (email chains). At that time, Mr.
           19     Ness and his team were working on the optical heart sensor and trying to improve
           20     accuracy by increasing the signal and reducing the noise. Ness Direct ¶ 31.
           21           260. Dr. Lamego contributed an initial idea to use reflectivity on the back of
           22     Apple Watch, although he did not provide any specific input on how to implement that
           23     idea. Id. ¶ 26; 11/13 Tr. [Warren] 100:18-25. In other words, Dr. Lamego’s contribution
           24     was to apply the known idea of reflectivity to a new device: the Apple Watch. Warren
           25     Direct ¶ 164.
           26           261. Even though Mr. Ness was the team leader, he had very limited contact
           27     with Dr. Lamego and only ever interacted with him on two occasions. Ness Direct ¶ 46.
           28           262. Mr. Ness never heard of Mohamed Diab before this litigation. Ness Direct

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             1    ¶ 29; 11/8 PM Tr. [Ness] 124:6-7.
             2          263.   Mr. Diab did not contribute anything to the ’052 patent or the ’670 patent.
             3    11/8 PM Tr. [Ness] 123:24-124:5.
             4          264. Nor did Mr. Diab ever communicate with the named inventors of the ’052
             5    and ’670 patents, or any other Apple employee, regarding the concepts in the ’052 patent
             6    or the ’670 patent during the period in which the concepts were being developed. Ness
             7    Direct ¶¶ 19-39; Warren Direct ¶ 158.
             8          265. Mr. Diab does not claim to be an inventor of the ’052 or ’670 patents.
             9    Warren Direct ¶ 159; 11/7 AM Tr. [Madisetti] 64:15-23 (agreeing Plaintiffs’ only
           10     support for inventorship is his opinion). Mr. Diab did not even mention the patents on
           11     which he is alleged to be an inventor in his direct testimony. See generally Diab Direct.
           12           266. At best, the evidence reflects that Dr. Lamego and Mr. Diab discussed high-
           13     level concepts regarding reflectivity. However, those basic concepts were known in the
           14     prior art (including as a result of Masimo’s TF-I reflectance sensor, released in 2003,
           15     which Dr. Madisetti contended embodies those concepts) a decade before the August
           16     2014 priority date of the ’052 and ’670 patents. Warren Direct ¶¶ 161-62; 11/13 Tr.
           17     [Warren] 100:2-17; Diab Direct ¶ 208; Madisetti Direct ¶¶ 277-83.
           18           267. Finally, there is no evidence that Dr. Lamego or Mr. Diab developed the
           19     subject matter claimed in the ’052 patent or the ’670 patent while employed by Plaintiffs.
           20     As discussed above, Dr. Lamego’s contribution to the patents was predicated on his
           21     knowledge of Apple Watch, and thus logically could not have been developed while Dr.
           22     Lamego was still employed at Masimo. Warren Direct ¶ 164.
           23           C.     ’754 Patent
           24           268. Dr. Lamego is a named inventor on U.S. Patent No. 10,219,754, titled
           25     “Methods and Systems for Modulation and Demodulation of Optical Signals” (“’754
           26     patent”), which issued on March 5, 2019. JTX-1262.
           27           269. The ’754 patent reflects work that Dr. Lamego did while he was employed
           28     by Apple. For example, Figure 7 of the patent contains the same subject material that

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             1    appears in an internal Apple presentation. JTX-1262 at -164; JTX-3657; Hotelling
             2    Direct ¶ 76. Other concepts in the ’754 patent are shown in a MATLAB script authored
             3    by Dr. Lamego while employed at Apple in 2014. JTX-880; Hotelling Direct ¶ 77;
             4    Sarrafzadeh Direct ¶¶ 183-87. Dr. Lamego developed the demodulation technique that
             5    appears in claim 1 of the ’754 patent to overcome a specific challenge posed by Apple
             6    Watch. Sarrafzadeh Direct ¶ 186.
             7          270. There is no evidence that Dr. Lamego or any Apple employee
             8    communicated with any of Plaintiffs’ employees about the concepts in the ’754 patent.
             9    Sarrafzadeh Direct ¶¶ 182-88; Madisetti Direct ¶¶ 267-72.
           10           271. Plaintiffs previously alleged that Mr. Poeze, a former Cercacor employee,
           11     was a co-inventor of D10. E.g., Dkt. 1430 (2023 PMCLF) at 43. However, at the April
           12     2023 trial, Mr. Poeze testified that he was not aware of anything that would make him a
           13     co-inventor of the ’754 patent. 4/7/23 AM Tr. [Poeze] 113:15-25. Plaintiffs then
           14     abandoned that theory, dropped their inventorship claim, and changed the theory of their
           15     remaining ownership claim to allege only that Dr. Lamego invented the concepts in the
           16     ’754 patent while employed at Cercacor. PMCLF (Dkt. 1676) at 26-27. However,
           17     Plaintiffs did not present any evidence to support that allegation; specifically, they failed
           18     to identify any contemporaneous documentation of Dr. Lamego inventing D10 while in
           19     their employ. 11/12 AM Tr. [Sarrafzadeh] 91:5-19.
           20           272. While Plaintiffs assert that the
           21
           22
           23            See supra ¶¶ 210-214, 216-218.
           24     VI.   PATENTS PUT PLAINTIFFS ON NOTICE ABOUT DR. LAMEGO’S WORK BY 2016
           25           273. Joe Kiani, CEO of Cercacor/Willow and (until 2024) Masimo, has long
           26     expressed misplaced suspicion about whether Apple was using Plaintiffs’ alleged trade
           27     secrets. In January 2014, shortly before Dr. Lamego joined Apple, Plaintiffs sent a letter
           28     accusing Apple of hiring Dr. Lamego to misappropriate trade secrets. See supra ¶ 14;

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             1    Kiani Direct ¶¶ 209-11; JTX-2937. Mr. Kiani “directed that a letter be sent to Apple”
             2    because he “viewed Apple as potentially dangerous because they had expressed an
             3    interest in Masimo and Cercacor’s technology in the past and had recruited several of
             4    [Plaintiffs’] employees in a short period.” Kiani Direct ¶ 209. Mr. Kiani also heard
             5    from Dr. Lamego’s friend, Christiano Dalvi, that Apple “had asked [Dr. Lamego] to do
             6    something that would compete with [Plaintiffs].” Kiani Direct ¶ 212.
             7          274. Before releasing any product, Plaintiffs have a practice of actively
             8    monitoring patent filings of other companies for related patents, including between 2014
             9    and 2019. Kiani Direct ¶ 132; 11/5 PM Tr. [Kiani] 13:20-14:2.
           10           275. On March 3, 2016, the ’052 patent application was published. JTX-1239.
           11     Dr. Lamego was a named inventor on the ’052 patent. Id. The ’052 application covers
           12     technology usable for “a wearable fitness device … positioned against the skin of a
           13     user’s wrist” to “obtain therefrom certain physiological data about the user such as heart
           14     rate, … blood oxygenation, … and so on.” JTX-1239 at 8.
           15           276.   Mr. Kiani thus does not dispute “that documents linking Dr. Lamego to
           16     physiological sensors at Apple were public as of 2016.” 11/5 PM Tr. [Kiani] 16:10-15.
           17     This information sufficed to put Plaintiffs on notice because their January 2014 letter
           18     had asserted that if Apple “employ[ed] Mr. Lamego in an area … involv[ing] healthcare
           19     technology, including … the measurement of physiological information,” it would
           20     necessarily encroach upon “Cercacor and Masimo’s trade secrets.” JTX-2937 at 1-2.
           21           277. Had Plaintiffs taken the reasonable investigative step of monitoring patent
           22     filings for Dr. Lamego’s name, they would have been alerted to the existence of the ’052
           23     application when it published in March 2016.
           24           278. Plaintiffs also would have been alerted through their practice of actively
           25     monitoring public patent filings for applications. Mr. Kiani attempted to suggest
           26     Plaintiffs’ freedom to operate searches would not have included wearables, but by his
           27     own admission, Plaintiffs “were working on wearable[s] … going back to 2014[.]” Id.
           28     at 14:13-21; Kiani Direct ¶¶ 97-99.

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             1    VII. UNRELATED INTERACTIONS BETWEEN APPLE AND PLAINTIFFS ARE
             2          IRRELEVANT TO THE CLAMS AT ISSUE
             3          A.     Apple Is Not Alleged To Have Misappropriated Anything Through
             4                 Projects Rover Or Everest
             5          279. In late summer/early fall 2012, the Apple Watch product development team
             6    asked Apple’s corporate development team to survey other companies in the health,
             7    wellness, and medical space. Perica Direct ¶ 7; Hotelling Direct ¶¶ 28-29. Such
             8    “landscape reviews” involve analyzing an industry through publicly available
             9    information like research reports, web searches, or news articles. Perica Direct ¶ 8. This
           10     particular landscape review was referred to internally as “Project Rover,” and
           11     encompassed analyzing approximately one hundred companies. Id. ¶ 12; JTX-4355.01
           12     at -540-54; 11/8 PM Tr. [Hotelling] 16:2-12. The basic idea was to see whether any of
           13     those companies would be suitable for partnership or even acquisition, to bolster Apple’s
           14     health-and-wellness capabilities, including for Apple Watch development. Hotelling
           15     Direct ¶ 28; see also Perica Direct ¶¶ 7, 11.
           16           280. Apple began meeting with the Project Rover companies in November 2012,
           17     ultimately meeting with 28 healthcare, wellness, and medical device companies. Perica
           18     Direct ¶¶ 15, 32; JTX-4360.01 at -948-50. Apple did not ultimately enter into a business
           19     relationship with any of the companies it met with for Project Rover. Perica Direct ¶
           20     33; Hotelling Direct ¶ 31. Apple concluded that none of the companies was a good fit.
           21     11/8 Tr. PM [Hotelling] 16:13-17; Hotelling Direct ¶ 31; Perica Direct ¶¶ 15, 30, 33.
           22           281. Apple identified Masimo and Cercacor as part of project Rover. Perica
           23     Direct ¶ 14; Hotelling Direct ¶ 29; JTX-4355.01 at -546. Apple and Masimo had a single
           24     meeting on May 3, 2013 that was introductory in nature and lasted about two to three
           25     hours. Perica Direct ¶ 19; Hotelling Direct ¶ 30.
           26           282. As Plaintiffs admit, no trade secret information was discussed during the
           27     May 2013 meeting; nor do Plaintiffs contend that Apple obtained any of Plaintiffs’
           28     confidential information directly from Plaintiffs, either at the May 2013 meeting or

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             1    otherwise. Perica Direct ¶¶ 19, 21; Hotelling Direct ¶ 30; Land Direct ¶ 19; Kiani Direct
             2    ¶ 177; 11/5 PM Tr. [Kiani] 17:6-8 (“Q Sir, you’re not here to say that trade secrets were
             3    part of that discussion; correct? A That is correct.”); 11/8 AM Tr. [Perica] 50:13-20;
             4    11/8 Tr. PM [Hotelling] 75:3-14.
             5          283. There was also no discussion at the May 2013 meeting about entering into
             6    any contractual or other business arrangement. Perica Direct ¶ 24.
             7          284. After the May 2013 meeting, members of Apple’s corporate development
             8    team briefly contemplated acquiring Masimo because—at the time—Apple was
             9    evaluating whether to add medical features to Apple Watch. Perica Direct ¶ 25.
           10     However, Apple did not formulate an offer to acquire Masimo, or make any substantial
           11     steps toward doing so. To the contrary, Apple’s consideration of Masimo was limited
           12     to a few internal emails; Apple did not undertake any due diligence, conduct an internal
           13     valuation analysis, go through regulatory reviews, seek approval from the audit or
           14     finance committees of its board of directors, or make an offer—all steps that Apple
           15     would typically take before making an offer to acquire a public company of Masimo’s
           16     size. 11/8 AM Tr. [Perica] 54:3-18. Moreover, Apple CEO Tim Cook did not recall
           17     discussing an acquisition of Masimo, which suggests that “it wasn’t in anything that was
           18     talked about seriously.” Dkt. 2402-3 [Cook Dep.] 41:12-20, 51:12-18.
           19           285. Apple’s corporate development team ultimately decided not to pursue an
           20     acquisition of Masimo for two related reasons: (1) Masimo did not appear to have the
           21     kind of technology that could be used consistent with the space and power constraints
           22     of a consumer product like Apple Watch, Perica Direct ¶ 30, and (2) Apple decided to
           23     continue its focus on consumer health and wellness rather than entering the medical
           24     space, and Apple executives decided that integrating a medical device company as large
           25     as Masimo would be a significant distraction to Apple’s engineering, sales, finance, legal
           26     and integration teams, id. ¶ 30; Dkt. 2402-3 [Cook Dep.] 48:10-18 (“I’m pushing us in
           27     a direction of wellness, because my view was that Apple should be in the ‘B-to-C’
           28     business to consumer, like we are in all of our other products, essentially … We do our

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             1    best work when you -- we talk directly to the person who uses a product.”); 11/8 AM Tr.
             2    [Perica] 51:22-52:8.
             3          286. In fall 2013, others at Apple briefly considered the potential for a
             4    collaboration with Masimo and/or Cercacor, codenamed “Project Everest.” Hotelling
             5    Direct ¶ 37. Project Everest likewise never progressed meaningfully because Apple
             6    concluded that a collaboration would not be feasible given Masimo’s and Cercacor’s
             7    focus on medical devices. Id.; 11/8 PM Tr. [Hotelling] 75:20-76:7. Apple never met
             8    with Masimo as part of Project Everest. Hotelling Direct ¶ 37; 11/8 PM Tr. [Hotelling]
             9    75:20-76:7; see also Dkt. 2266 [Tom Dep.] 29:2-11, 29:19-21, 30:1-6.
           10           B.     Plaintiffs Do Not Allege That Any Other Former Employee
           11                  Misappropriated Anything
           12           287. The record shows that over the course of a decade, Apple has hired roughly
           13     several dozen employees who previously worked at Masimo or Cercacor; Apple hired
           14     them as part of its normal hiring process, in which Apple hires individuals based on
           15     general talent and expertise. E.g., Hotelling Direct ¶¶ 55, 57; JTX-1786.1 at 27 (chart
           16     identifying employees who worked at Masimo or Cercacor prior to working at Apple).
           17           288. The hiring of these other employees is irrelevant to Plaintiffs’ allegations
           18     of misappropriation. As Mr. Kiani admitted, no employee “other than Dr. Lamego is
           19     even alleged to have done anything improper.” 11/5/24 Trial Tr. PM [Kiani] at 34:21-
           20     25; see also Hotelling Direct ¶ 56; 11/8/24 Trial Tr. PM [Hotelling] at 83:9-84:6.
           21           289. Other than Dr. Lamego, none of Apple’s employees who previously
           22     worked at Masimo or Cercacor worked on the design of Apple Watch’s optical sensor
           23     or any PPG hardware or algorithm at issue in this case. Hotelling Direct ¶ 56; 11/8 PM
           24     Tr. [Hotelling] 83:9-84:6; see also 11/5 AM Tr. [Kiani] 129:9-14 (testifying that, with
           25     respect to other former Masimo or Cercacor engineers currently at Apple, Plaintiffs
           26     “don’t have the same issue as we do with Marcelo Lamego”).
           27           290.   Apple did not hire any of these employees as part of any improper effort
           28     to learn Plaintiffs’ confidential information. Hotelling Direct ¶ 55; Dkt. 2402-3 [Cook

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             1    Dep.] 132:15-133:4 (“Q Have you ever hired someone to gain access to another
             2    company’s confidential information? A No. … Of course not. … [W]e don’t want
             3    people copying us, and therefore we respect what other people have as well.”).
             4          291. Regardless of when they joined Apple, all these employees were required
             5    to sign Apple’s Intellectual Property Agreement, JTX-3044, and were informed of
             6    Apple’s Business Conduct Policy, JTX-4181. Hotelling Direct ¶ 57.
             7                          PROPOSED CONCLUSIONS OF LAW
             8    I.    JURISDICTION, VENUE, AND TRIAL PROCESS
             9          292. The Court has subject matter jurisdiction under 28 U.S.C. § 1338(a), 28
           10     U.S.C. § 1331, and 28 U.S.C. § 1367, at least because the inventorship claims arise
           11     under federal patent law, 35 U.S.C. § 256, and the claims under the California Uniform
           12     Trade Secrets Act (CUTSA), Ca. Civ. Code § 3426 et seq., and the claims for declaratory
           13     judgment of ownership are related to the inventorship claims and form part of the same
           14     case or controversy. This Court also has federal question and patent law jurisdiction
           15     pursuant to Plaintiffs’ bifurcated patent infringement claims.
           16           293. The Court has personal jurisdiction over the parties and venue is proper
           17     under 28 U.S.C. §§ 1391(d) and 1400 because Apple is incorporated in California.
           18           294. Following the original jury trial, Plaintiffs requested a bench trial after
           19     voluntarily waiving the right to seek reasonable royalty and exemplary (i.e., punitive)
           20     damages, Dkt. 2098 at 2; Dkt. 2100 at 6, and to appeal this Court’s prior ruling striking
           21     their lost profits theory, Dkt. 2143-6 at 32; 10/28/24 Hr’g Tr. 10-11. Plaintiffs also
           22     waived the right to seek unjust enrichment. Dkt. 2177-1 at 7 n.12; Dkt. 2133. Based on
           23     those waivers, the Court held that the remaining issues should be tried to the Court.10
           24           295. Plaintiffs now seek only a permanent injunction, attorneys’ fees, and post-
           25
           26
                  10
                    Apple maintains its objections to the Court’s decision to order a bench trial. Dkt. 2159
                  at 21 n.9. Moreover, although the Court resolved many of the parties’ legal disputes
           27     when issuing its jury instructions at the April 2023 trial (Dkt. 1715) and although Apple
                  has already preserved its prior objections to those instructions, Apple restates its
           28     objections to the definitive legal rulings this Court made in issuing those instructions,
                  Dkt. 1676.
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             1    judgment interest on any fee award.
             2    II.   TRADE SECRET CLAIMS
             3          296. To establish misappropriation under CUTSA, Plaintiffs must prove by a
             4    preponderance of the evidence “(1) the existence and ownership of a trade secret and
             5    (2) misappropriation of the trade secret.” Dkt. 1275 at 3 (citing Cal. Civ. Code
             6    § 3426.1); CACI 4400-4401.        Plaintiffs must also establish that Apple’s “actions
             7    damaged” them. See Sargent Fletcher, Inc. v. Able Corp., 110 Cal. App. 4th 1658, 1665
             8    (2003); CACI 4401; CJI-19.
             9          297. “In order to qualify as a trade secret, the information ‘must be secret, and
           10     must not be of public knowledge or of a general knowledge in the trade or business.’”
           11     DVD Copy Control Ass’n., Inc. v. Bunner, 116 Cal. App. 4th 241, 251 (2004); Dkt. 1275
           12     at 7. Plaintiffs must also show that the alleged secret “derives independent economic
           13     value, actual or potential, from not being generally known to the public or to other
           14     persons who can obtain economic value from its disclosure or use,” and “is the subject
           15     of efforts that are reasonable under the circumstances to maintain its secrecy.” Dkt.
           16     1275 at 4 (citing Cal. Civ. Code § 3426.1(d)) (emphasis added); CACI 4402; CJI-21.
           17           298. To establish misappropriation, Plaintiffs must show for each alleged trade
           18     secret that Apple acquired, used, or disclosed the alleged trade secret either (1) by using
           19     improper means to learn of the alleged secret (here, called “direct misappropriation”) or
           20     (2) by knowing or having had reason to know that Apple gained access to the purported
           21     secret through improper means (here, called “indirect misappropriation”). Dkt. 1275 at
           22     9 (citing Cal. Civ. Code § 3426.1(a)-(b)); CACI 4405-07.
           23           299. Plaintiffs failed to meet their burden to prove that L4, L5, D1, D3, or D10
           24     is actually a trade secret, or that Apple misappropriated any alleged trade secret.
           25           A.     The Alleged Trade Secrets Do Not Qualify As Trade Secrets Under
           26                  CUTSA And Were Not Improperly Acquired, Used, Or Disclosed.
           27
           28

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             1                 1.     L4 – The Accused Black Foam Quality Control Test 11
             2                        a)     Possession, Ownership, and Particularity
             3          300.    To prove trade secret misappropriation, Plaintiffs must prove that they
             4    developed the full scope of the alleged secret, or otherwise lawfully possessed it, before
             5    the alleged misappropriation. See Jasmine Networks, Inc. v. Superior Ct., 180 Cal. App.
             6    4th 980, 997-1000 (2009); DTM Rsch., L.L.C. v. AT&T Corp., 245 F.3d 327, 331 (4th
             7    Cir. 2001); CJI-20. Plaintiffs should not be allowed to prove possession based only on
             8    the alleged secret inventor’s say-so. Cf. Ruling Meng v. Ching-Wu “Paul” Chu, 643 F.
             9    App’x 990, 994 (Fed. Cir. 2016) (patent inventorship testimony must be corroborated).12
           10           301. Plaintiffs failed to prove
           11
           12                                                                                             See
           13     supra ¶¶ 33-39.13 Plaintiffs cannot prove possession of L4 by showing only partial
           14     possession. CJI at 26, 33 (Court holding Plaintiffs must “establish that [each] Asserted
           15     Trade Secret as a whole was entitled to protection”).
           16           302. Nor can Plaintiffs prove possession by unilaterally narrowing L4
           17                              , years after the close of fact discovery, after Apple prepared its
           18     trial defense to the broader articulation of L4, and without seeking to amend their prior
           19     identification of the alleged trade secrets under Cal. Code Civ. P. § 2019.210.14
           20           303. Plaintiffs’ inconsistency on whether L4
           21
           22
                  11
                     Because the same legal standards apply to all five alleged trade secrets, this document
                  states the relevant legal rule only once in this section. Unless otherwise noted, the same
           23     legal standard applies to all later analysis of that element for the other alleged secrets.
                  12
                     Although the Court rejected at summary judgment Apple’s position that Plaintiffs
           24     must identify a pre-litigation document that clearly describes the alleged trade secrets
                  (Dkt. 1283 at 3-4), Apple reasserts its prior position here, Dkts. 1101, 1249. Even if that
           25     ruling remains operative, Plaintiffs cannot rely on ipse dixit testimony to establish
                  possession.
           26
                  13
                     The Court held at the April 2023 trial that Dr. Madisetti had not disclosed an opinion
                  on this issue, 4/11/23 PM Tr. 5:17-7:20; 4/12/23 PM Tr. 15:8-16:5, and Dr. Madisetti
           27     conceded   exactly that at the October 2024 retrial, see supra ¶ 35.
                  14
                     The defendant in Masimo Corp. v. True Wearables, Inc., 2022 WL 17083396 (C.D.
           28     Cal. Nov. 7, 2022), did not object to Plaintiffs’ partial possession theory in that case.
                  The Court is not aware of precedent approving an objected-to partial possession theory.
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             1    an independent basis to deny relief, as a trade secret plaintiff must “describe the subject
             2    matter of the trade secret with sufficient particularity to separate it from matters of
             3    general knowledge in the trade or of special knowledge of those persons ... skilled in the
             4    trade.” Imax Corp. v. Cinema Techs., Inc., 152 F.3d 1161, 1164-65 (9th Cir. 1998)
             5    (summary judgment on inadequate particularity); Altavion, Inc. v. Konica Minolta Sys.
             6    Lab’y, Inc., 226 Cal. App. 4th 26, 43 (2014) (same). This is because “[w]ithout
             7    particularity (pre-trial and at trial), there is an inadequate basis for a fair adjudication of
             8    what information was actually used by the defendants.” Olaplex, Inc. v. L’Oreal USA,
             9    Inc., 855 F. App’x 701, 712 (Fed. Cir. 2021) (JMOL on reasonable particularity); see
           10     Altavion, 226 Cal. App. 4th at 45 (particularity must be established “at trial”). Just as in
           11     patent law, Plaintiffs cannot treat their alleged secrets like a “nose of wax” to be “twisted
           12     one way” or the other depending on Plaintiffs’ strategic needs. CommScope Techs., LLC
           13     v. Dali Wireless, Inc., 10 F.4th 1289, 1299 (Fed. Cir. 2021).
           14           304. Masimo and Cercacor also must also show that each entity “owned the trade
           15     secret.” E.g., AMN Healthcare Inc. v. Aya Healthcare Services, Inc., 28 Cal. App. 5th
           16     923, 942 (2018).15 Plaintiffs have failed to present any evidence establishing whether
           17     Masimo, Cercacor, or Willow, or some combination of them, owns L4.
           18                         b)     Secrecy
           19           305. To constitute a trade secret, information “must not have been generally
           20     known to the public or to people who could obtain value from knowing it.” AMN
           21     Healthcare, 28 Cal. App. 5th at 943 n.8 (quoting CACI No. 4403); see also DVD Copy
           22     Control Assn., 116 Cal. App. 4th at 251; Cal. Civ. Code § 3426.1(d)(1).
           23           306. “Generally, publication of information in a patent or a patent application
           24     makes it generally known to the public as of the date of publication and so eliminates
           25     any trade secrecy.” CJI-22; see, e.g., Masimo Corp. v. True Wearables, Inc., 2022 WL
           26     205485, at *3 (Fed. Cir. Jan. 24, 2022) (“[I]nformation ‘disclosed in a patent’ is
           27     15
                    The Court previously rejected Apple’s position that Plaintiffs must prove ownership
           28     by both Plaintiffs. Dkt. 1283 at 3-4. Apple reasserts it here for preservation. E.g., Dkt.
                  1101 at 17-18; Dkt. 1500-1 at 89 n.38.
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             1    ‘generally known to the public’ for purposes of the CUTSA.”).
             2          307. Plaintiffs failed to meet their burden to prove that core elements in L4 were
             3    not generally known.
             4          308. Plaintiffs principally rely on Dr. Madisetti to carry their burden to prove
             5    that L4 was not generally known, but cannot properly do so because he failed to conduct
             6    any “survey of literature or other research” and appears to have “consciously
             7    refrained … from educating himself on the universe of literature in the relevant time
             8    frame or even determining … what others in the industry generally knew.” Atmel Corp.
             9    v. Info. Storage Devices, Inc., 189 F.R.D. 410, 416 (N.D. Cal. 1999).
           10           309. The Court has already rejected Plaintiffs’ contention that a trade secret is
           11     generally known only if disclosed as a whole in a single reference. Dkt. 1284 at 5-6; see
           12     also True Wearables, 2022 WL 17083396, at *10, *12 (concluding purported secret was
           13     generally known after considering it in discrete “elements” and based on disclosures in
           14     multiple references). That argument also is irreconcilable with Plaintiff’s attempt to
           15     show possession of the alleged secrets by relying on information spread over multiple
           16     documents/products. See supra ¶¶ 106, 111 (L5); 160, 162-163 (D1); 186-187, 190
           17     (D3); 209-220 (D10).
           18           310. What Plaintiffs claim to possess of L4 is generally known in view of JTX-
           19     3778 (Petersen) alone, and also in view of JTX-3673 (Delonzor), JTX-3887 (Webster)
           20     and P-0164/JTX-3881 (student project). See supra ¶¶ 44-59. Plaintiffs’ own patents
           21     (JTX-1207, JTX-3879, JTX-3707, JTX-3694) further confirm L4 is generally known.
           22     See supra ¶¶ 61-66.
           23                        c)     Independent Economic Value From Secrecy
           24           311. A trade secret must “[d]erive[] independent economic value, actual or
           25     potential, from not being generally known to the public or to other persons who can
           26     obtain economic value from its disclosure or use,” Cal. Civ. Code § 3426.1(d)(1), which
           27     means the “information must be sufficiently valuable … to afford … a substantial
           28     business advantage” over competitors. Altavion, 226 Cal. App. 4th at 62.

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             1          312. Plaintiffs have not met their burden to prove that L4 provides Plaintiffs with
             2    a competitive advantage by virtue of its alleged secrecy.
             3          313. Plaintiffs’ failure to prove that L4 was not generally known necessarily
             4    means they also failed to prove that L4 had any value from not being generally known.
             5          314. Plaintiffs also failed to prove what advantage they obtained over
             6    competitors by supposedly keeping L4 confidential, including by failing to present any
             7    non-conclusory “evidence tending to show how difficult it would have been for [Apple]
             8    or another [company] to discover the relevant information” allegedly kept secret. Yield
             9    Dynamics, Inc. v. TEA Sys. Corp., 154 Cal. App. 4th 547, 569-70 (2007); Altavion, 226
           10     Cal. App. 4th at 62; Religious Tech. Ctr. v. Netcom On-Line Commc’n Servs., Inc., 923
           11     F. Supp. 1231, 1253 (N.D. Cal. 1995).
           12           315. Others, including Apple, could and did develop the portion of L4 Plaintiffs
           13     say was not generally known. See supra ¶¶ 40-60. Given this evidence that it was not
           14     difficult to develop L4, Plaintiffs’ circumstantial evidence (e.g., regarding resources
           15     invested and precautions taken to preserve secrecy) is insufficient. “[I]t is not true that
           16     evidence of ‘some’ helpfulness or usefulness … compel[s] a finding of independent
           17     economic value.” Yield Dynamics, 154 Cal. App. 4th at 564, 567. For example,
           18     “airplanes need wings to fly, but that does not mean that all wing designs have
           19     independent economic value.” Id.
           20                         d)    Reasonable Efforts To Maintain Secrecy
           21           316. To constitute a trade secret, information must be “subject to reasonable
           22     efforts to maintain its secrecy.” Dkt. 1275 at 7; Cal. Civ. Code § 3426.1(d)(2); Mattel,
           23     Inc. v. MGA Entm’t, Inc., 2011 WL 3420571, at *6 (C.D. Cal. Aug. 4, 2011).
           24           317. Plaintiffs failed to take reasonable efforts to keep L4 (as they possessed it)
           25     a secret, as confirmed by Plaintiffs’ own patents (JTX-1207, JTX-3879, JTX-3707, JTX-
           26     3694) that disclose the concepts recited in L4. See supra ¶¶ 61-66. A plaintiff’s decision
           27     to “disclos[e] … a trade secret in a patent application extinguishes the information’s
           28     trade secret status.” Attia v. Google LLC, 983 F.3d 420, 426 (9th Cir. 2020).

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             1                        e)    Acquisition, Disclosure, and Use
             2          318. Plaintiffs cannot prove direct misappropriation of L4, see infra COL
             3    § II.B.1, or that Apple had the requisite mental state to indirectly misappropriate L4, see
             4    infra COL § II.B.2.
             5          319. Plaintiffs have not alleged (much less presented evidence) that Apple has
             6    disclosed L4 to third parties. See infra ¶ 73.
             7          320. Plaintiffs may not rely on an acquisition theory of misappropriation because
             8    they failed to identify any acquisition-only theory of harm. Rather, their theories have
             9    been grounded in Apple’s alleged use or disclosure of the purported trade secrets and
           10     “[t]hese theories reference acquisition only insofar as it forms a logical prerequisite to
           11     use” or disclosure. Waymo LLC v. Uber Techs., Inc., 2018 WL 466510, at *3 (N.D. Cal.
           12     Jan. 18, 2018); see, e.g., Directions for Use, CACI 4405.
           13           321. Plaintiffs failed to prove that Apple engaged in any conduct that amounts
           14     to misappropriation-by-use. Plaintiffs failed to prove that Apple obtained “knowledge
           15     of [L4] … through a person who owed a duty to [Masimo or Cercacor],” the necessary
           16     predicate for misappropriation-by-use liability here. Cal. Civ. Code § 3426.1(b)(2)(iii).
           17           322. Plaintiffs failed to meet their burden to show that Apple obtained L4
           18     through Dr. Lamego.
           19
           20
           21
           22           323. Even under Plaintiffs’ theory that JTX-143 and/or JTX-1063 show that Dr.
           23     Lamego disclosed the                                               L4 to Apple, Plaintiffs
           24     have failed to meet their burden to show that Dr. Lamego
           25
           26           324. Plaintiffs cannot speculate that Dr. Lamego would inevitably have used L4
           27     in his work at Apple, as California has rejected the “doctrine of inevitable disclosure.”
           28     FLIR Systems, Inc. v. Parrish, 174 Cal. App. 4th 1270, 1277 (2009); see U.S. Legal

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             1    Support, Inc. v. Hofioni, 2013 WL 6844756, at *7 n.8 (E.D. Cal. Dec. 20, 2013).
             2          325. Even under their theory that Dr. Lamego conveyed L4 and Apple used it,
             3    Plaintiffs failed to meet their burden to prove that Apple did not independently derive
             4    any aspect of L4. “[I]ndependent derivation … directly refutes the element of use
             5    through improper means.” Sargent Fletcher, 110 Cal. App. 4th at 1670, 1675.
             6          326.
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           18           327.
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           21           328.
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           23                                                                               .
           24           329. Plaintiffs have not proven that any modifications made to Apple Watch
           25     were “substantially derived” from anything conveyed by Dr. Lamego. SkinMedica, Inc.
           26     v. Histogen Inc., 869 F. Supp. 2d 1176, 1197 (S.D. Cal. 2012); Bladeroom Grp. Ltd. v.
           27     Facebook, Inc., 2018 WL 514923, at *8-9 (N.D. Cal. Jan. 23, 2018).
           28

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             1                 2.    L5 – The Accused Short Circuit
             2                       a)     Possession, Ownership, and Particularity
             3          330. Plaintiffs did not meet their burden to prove that they possessed the full
             4    scope of L5, and so cannot prove misappropriation of L5. See supra ¶¶ 99-112.
             5          331.
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           12           332.
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           18           333. Plaintiffs’ decision to define L5 broadly, and untethered to what Plaintiffs
           19     actually possessed, deprives L5 of the sufficient particularity needed to distinguish the
           20     alleged trade secret from “matters … of special knowledge of those persons … skilled
           21     in the trade.” Imax, 152 F.3d at 1164-65. This is an independent basis to dismiss L5, as
           22     a plaintiff cannot permissibly “claim[] broad swaths of solutions to general competing
           23     considerations … rather than the single, specific solution adopted by” the plaintiff.
           24     Waymo LLC v. Uber Techs., Inc., 2017 WL 2123560, at *7 (N.D. Cal. May 15, 2017).
           25     This Court previously declined to grant JMOL on the issue of particularity because
           26     Plaintiffs had represented—inconsistent with their trial position—that L5 does “not
           27     claim every solution”                                                . R50AO at 10.
           28           334. Plaintiffs failed to present evidence sufficient to establish whether L5 was

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             1    owned by Masimo, Cercacor, Willow, or some combination of them. See supra ¶ 98.
             2                       b)    Secrecy
             3          335. Plaintiffs have failed to meet their burden to prove that L5 was not generally
             4    known.
             5          336. Plaintiffs’ principal evidence of alleged secrecy came from Dr. Madisetti,
             6    but he failed to conduct the affirmative inquiry required by Atmel, so his testimony is
             7    legally insufficient. See Madisetti Direct ¶¶117-27, 163-70, 197-204, 218-26, 254-56.
             8          337. In any event, L5 was generally known based on (1) JTX-3808 (Mims),
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           15
           16           338. That Plaintiffs’ own patent (JTX-4233) published L5—i.e.,
           17                                                                                    “so as to
           18     prevent parasitic currents from unwanted activation of LEDs”—confirming it was
           19     generally known and that Plaintiffs made no reasonable efforts to keep it secret, a fact
           20     corroborated by Mr. Smith himself. See supra ¶¶ 122-129.
           21                        c)    Independent Economic Value
           22           339. Plaintiffs’ failure to prove that L5 is not generally known necessarily means
           23     that L5 lacks any independent economic value for not being generally known.
           24           340. In any event, Plaintiffs have not met their burden to show establish that L5
           25     provides Plaintiffs with a competitive advantage by virtue of its alleged secrecy. See
           26     supra ¶¶ 130-132.
           27
           28

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             3                                            .
             4                        d)     Reasonable Efforts to Maintain Secrecy
             5          341. Including because they
             6              in patents (JTX-4233, JTX-1206), Plaintiffs failed to meet their burden to
             7    show that they took reasonable efforts to keep L5 as they possessed it secret. Indeed,
             8    Mr. Smith expressly testified that Plaintiffs made no effort to keep the sole L5 solution
             9    they possessed secret. See supra ¶ 122.
           10                         e)     Acquisition, Disclosure, and Use
           11           342. Plaintiffs cannot prove direct misappropriation of L5, see infra COL
           12     § II.B.1, or that Apple had the requisite mental state to indirectly misappropriate L5, see
           13     infra COL § II.B.2.
           14           343. Plaintiffs failed to prove any viable theory of misappropriation-by-
           15     acquisition, including by not articulating any theory of harm arising from the alleged
           16     acquisition of L5. See supra ¶ 133.
           17           344. Plaintiffs failed to prove that Apple disclosed L5 to anyone.              The
           18     communications with               that Plaintiffs cite do not address
           19
           20           345. Plaintiffs failed to prove that Apple engaged in any conduct amounting to
           21     misappropriation-by-use.
           22           346. Plaintiffs failed to prove that Apple acquired knowledge of L5 from Dr.
           23     Lamego—
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           25
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           28                                                                                               .

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             1
             2          347. Plaintiffs failed to prove that Apple used L5.
             3
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             9          348. Plaintiffs failed to prove that Apple implemented Dr. Lamego’s proposal,
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           11
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           13           349. Plaintiffs failed to prove that
           14
           15
           16
           17
           18                  3.     D1 – Unused Algorithm
           19                         a)    Possession and Ownership
           20           350. Plaintiffs did not meet their burden to prove that they possessed the full
           21     scope of D1, and so cannot prove misappropriation of D1. See supra ¶¶ 159-163.
           22           351. Plaintiffs showed at most that they only possessed part of D1, which is
           23     insufficient to prove possession. See supra ¶¶ 159-163 (no evidence showing possession
           24                                          ).
           25           352. Plaintiffs’ attempt to prove possession of D1 by pointing to elements of D1
           26     that are scattered over unrelated documents, products, and source code is incompatible
           27     with Plaintiffs’ position that an alleged secret is not generally known unless a single
           28     reference, as a whole, discloses the entire secret. E.g., Dkt. 1174 at 8-9.

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             1          353. Plaintiffs failed to prove whether Masimo, Cercacor, Willow, or some
             2    combination of them owns D1. See supra ¶ 158. In particular, Plaintiffs’ evidence of
             3    possession rests in part on products and work product by Mr. Poeze—a former Cercacor
             4    employee—without establishing a connection to Masimo or Willow.
             5                        b)    Secrecy
             6          354. Plaintiffs failed to meet their burden to prove that D1 is not generally
             7    known.
             8          355. Plaintiffs’ principal evidence regarding alleged secrecy came from Dr.
             9    Madisetti, but he failed to conduct the affirmative inquiry required by Atmel, so his
           10     testimony on this issue is legally insufficient. See supra ¶¶ 164-171.
           11           356. To the extent possessed, the Court concludes that D1 was generally known
           12     based on Weber 2018 (JTX-3584), a Masimo patent. See supra ¶¶ 165-168.
           13           357. In addition, D1 was generally known because Weber 2005 (JTX-3581), a
           14     Masimo patent, and Masimo’s Pronto device—taken together—disclosed the entirety of
           15     D1.   See supra ¶¶ 169-171.      This Court has rejected Plaintiffs’ argument that a
           16     combination of references cannot render an alleged trade secret generally known. Dkt
           17     1284 at 5-6.
           18           358.
           19                         c)    Independent Economic Value
           20           359. Plaintiffs’ failure to prove that D1 is not generally known necessarily
           21     means that D1 lacks any independent economic value for not being generally known.
           22           360. Plaintiffs have not met their burden to establish that D1 provides them with
           23     a competitive advantage by virtue of its alleged secrecy. At most, Plaintiffs established
           24     that engineers spent time developing demodulation techniques, but Plaintiffs have failed
           25     to tie that general expenditure of time specifically to D1.
           26           361. The lack of economic value in D1 is further demonstrated by the undisputed
           27     evidence that no Apple Watch model has ever used Plaintiffs’ alleged demodulation
           28     secrets, including D1, and that Apple has continued to use the different, independently

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             1    developed DCS demodulation technique in Apple Watch. See supra ¶¶ 205, 236, 239.
             2          362. Plaintiffs also failed to establish that any of their products practices D1,
             3    further demonstrating lack of economic value. See supra ¶¶ 175, 231-233.
             4          363. There is no evidence that the                                    D1 has been
             5    licensed, practiced, or asserted. See supra ¶¶ 221 fn. 9, 224.
             6                        d)    Reasonable Efforts to Maintain Secrecy
             7          364. Plaintiffs did not take reasonable efforts to keep D1 secret, as confirmed by
             8
             9
           10                         e)    Acquisition, Disclosure, and Use
           11           365. Plaintiffs cannot establish misappropriation of D1 because they failed to
           12     prove that Apple directly misappropriated D1, see infra COL § II.B.1, or that Apple had
           13     the requisite mental state to indirectly misappropriate D1, see infra COL § II.B.2.
           14           366. Plaintiffs have failed to provide any viable theory under which Apple could
           15     be liable for misappropriation-by-acquisition, including because Plaintiffs have not
           16     offered any harm theory arising from the alleged acquisition of D1. See supra ¶ 178.
           17     Plaintiffs failed to prove Apple acquired knowledge of D1 from Dr. Lamego, as none of
           18     Plaintiffs’ cited documents shows that Dr. Lamego disclosed D1 to Apple. See supra
           19     ¶¶ 176-182.
           20           367. Plaintiffs failed to prove that Apple disclosed D1,
           21                   . See supra ¶ 181.
           22           368. Plaintiffs failed to prove that Apple used D1 in any way, including in any
           23     Apple Watch model—all use a different double-sided DCS modulation technique that
           24     Apple independently developed and used before Apple hired Dr. Lamego. See supra
           25     ¶ 157. That independently developed DCS algorithm was not “substantially derived”
           26     from, nor influenced by, Dr. Lamego or D1. SkinMedica, 869 F. Supp. 2d at 1197;
           27     Bladeroom, 2018 WL 514923, at *8-9.
           28           369. Plaintiffs failed to prove that Apple used D1 as “negative know-how.” “[A]

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             1    defendant might use a negative know-how trade secret by taking its lesson to avoid
             2    developing apparently fruitless technology.” Waymo, 2018 WL 466510, at *2. But mere
             3    possession and development of a different, successful technology is not use of a negative
             4    know-how trade secret—which requires that “undisclosed proprietary information
             5    regarding the relative strengths and weaknesses of various formulations … were used to
             6    develop products closely resembling the plaintiff’s technology.” Proofpoint, Inc. v.
             7    Vade Secure, Inc., 2022 WL 17869223, at *3 (N.D. Cal. Dec. 22, 2022).
             8          370. Here, the undisputed evidence establishes
             9                                                                      Apple then proceeded
           10     to evaluate—and reject—his proposal. See supra ¶ 236. Thus, even under Plaintiffs’
           11     theory that D1 was Plaintiffs’ trade secret and Dr. Lamego conveyed it to Apple, Apple
           12     did not “avoid developing apparently fruitless technology.” Waymo, 2018 WL 466510,
           13     at *2. Apple instead wasted time evaluating and rejecting Lamego’s proposal as a
           14     potential replacement for the unrelated DCS techniques Apple was already using and
           15     continued to use after rejecting Dr. Lamego’s proposal. See supra ¶¶ 157, 236. 16
           16                  4.    D3 – Unused Algorithm
           17                        a)     Possession and Ownership
           18           371. Plaintiffs did not meet their burden to prove that they possessed the full
           19     scope of D3. See supra ¶¶ 184-191.
           20           372. Plaintiffs failed to prove whether Masimo, Cercacor, Willow, or some
           21     combination of them owned D3. See supra ¶ 183. As with D1, Plaintiffs rely on a
           22     Cercacor product and work by a Cercacor employee (Dr. Poeze), supra ¶ 186, but
           23     present no evidence that Masimo (or Willow) owned or lawfully possessed D3.
           24                        b)     Secrecy
           25           373. Plaintiffs failed to meet their burden to prove that D3 was not generally
           26     known.
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                  16
                    The same applies to Plaintiffs’ assertion that Apple “used” D3 and D10. As with D1,
                  the other alleged demodulation trade secrets wasted time, rather than saving it.
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             1           374. Plaintiffs’ principal evidence regarding alleged secrecy came from Dr.
             2    Madisetti, but he failed to conduct the affirmative inquiry required by Atmel, so his
             3    testimony on this issue is legally insufficient. See Madisetti Direct ¶¶ 218-26.
             4           375. Even under Plaintiffs’ theory that they partially possessed D3, the portion
             5    they possessed is disclosed in JTX-3584 (Poeze 2011), either alone or in conjunction
             6    with JTX-3581 (Weber 2005) and JTX-3571 (Lamego 2011). See supra ¶¶ 192-196.
             7           376.
             8                        c)    Independent Economic Value
             9           377. Plaintiffs’ failure to prove that D3 is not generally known necessarily
           10     means that D3 lacks any independent economic value for not being generally known.
           11            378. Plaintiffs have not met their burden to prove that D3 provides Plaintiffs
           12     with a competitive advantage by virtue of its alleged secrecy. At most, Plaintiffs’
           13     evidence establishes that engineers spent time developing demodulation techniques, but
           14     Plaintiffs have failed to tie that evidence to D3, specifically. See supra ¶¶ 197-198.
           15            379. The lack of economic value in D3 is further demonstrated by the undisputed
           16     evidence that no Apple Watch model has ever used Plaintiffs’ alleged demodulation
           17     secrets, including D3, and that Apple has continued to use its different, independently
           18     developed DCS demodulation technique. See supra ¶¶ 205, 236, 239.
           19            380. Plaintiffs failed to establish that any of their products practices D3, further
           20     demonstrating a lack of economic value. See supra, ¶¶ 231-233.
           21            381. There is also no evidence that the ’754 patent allegedly containing D3 has
           22     been licensed, practiced, or asserted. See supra ¶¶ 221 fn. 9, 224.
           23                         d)    Reasonable Efforts to Maintain Secrecy
           24            382. Plaintiffs did not take reasonable efforts to keep D3 secret, as confirmed by
           25     their publication of the version of D3 they possess in JTX-3583 (Poeze 2011), alone or
           26     in view of JTX-3581 (Weber 2005) and JTX-3571 (Lamego 2011). See supra ¶¶ 192-
           27     196.
           28

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             1                        e)    Acquisition, Disclosure, and Use
             2          383. Plaintiffs cannot prove misappropriation of D3 because they failed to prove
             3    that Apple directly misappropriated D3, see infra COL § II.B.1, or that Apple had the
             4    requisite mental state to indirectly misappropriate D3, see infra COL § II.B.2.
             5          384. Plaintiffs have not advanced any viable theory that Apple is liable under
             6    CUTSA for misappropriation by acquisition, including by adducing no facts proving
             7    that Plaintiffs suffered any harm due to any purported acquisition of D3 by Apple. See
             8    infra COL § II.C. Plaintiffs failed to prove that Apple acquired knowledge of D3 from
             9    Dr. Lamego, as none of Plaintiffs’ cited documents shows that Dr. Lamego disclosed
           10     D3 to Apple, as none (individually or collectively) contains D3. See supra ¶¶ 199-204.
           11           385. Plaintiffs failed to prove that Apple disclosed D3 in
           12     or elsewhere. See supra ¶ 206.
           13           386. Plaintiffs failed to prove that Apple used D3 in any way, including in any
           14     Apple Watch model—all use a different double-sided DCS modulation technique that
           15     Apple independently developed and used before hiring Dr. Lamego. See supra ¶¶ 157,
           16     236. That independently-developed DCS algorithm was not “substantially derived”
           17     from, nor influenced by, Dr. Lamego or D3. SkinMedica, 869 F. Supp. 2d at 1197;
           18     Bladeroom, 2018 WL 514923, at *8-9.
           19           387. Plaintiffs failed to prove that Apple used D3 as “negative know-how.” See
           20     supra ¶ 369.
           21                    5.   D10 – Unused Algorithm
           22                         a)    Possession and Ownership
           23           388. Plaintiffs did not meet their burden to prove that they possessed the full
           24     scope of D10. See supra ¶¶ 208-220.
           25           389. Plaintiffs failed to prove whether Masimo, Cercacor, Willow, or some
           26     combination of them owned D10. See supra ¶ 207. Plaintiffs’ possession evidence is
           27     based on a product developed at Cercacor—Plaintiffs present no evidence that Masimo
           28     (or Willow) owned or lawfully possessed D10, or that D10 was developed at Cercacor

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             1    with a duty to assign to Masimo (or Willow). See supra ¶ 210.
             2                        b)     Secrecy
             3           390. As Mr. Kiani testified during the April 2023 trial, D10 has not been a secret
             4    at least since                                            See supra ¶ 221.
             5                        c)     Independent Economic Value
             6           391. Plaintiffs presented no direct or circumstantial evidence sufficient to prove
             7    that D10 has independent economic value by virtue of secrecy, as with D1 and D3. For
             8    example, there is no evidence that D10 is used in Watch or any other product (including
             9    in any of Plaintiffs’ products), or that the                               D10 has been
           10     licensed, practiced, or asserted. See supra ¶¶ 223-225.
           11                         d)     Acquisition, Disclosure, and Use
           12            392. Plaintiffs cannot prove misappropriation of D10 because they have failed
           13     to prove that Apple directly misappropriated D10, see infra COL § II.B.1, or had the
           14     requisite mental state to have indirectly misappropriated D10, see infra COL § II.B.2.
           15            393. Plaintiffs failed to prove that Apple improperly acquired D10 (and thus
           16     cannot prove Apple improperly used or disclosed D10) because Plaintiffs did not prove
           17     that Dr. Lamego invented D10—or was otherwise exposed to D10—while employed at
           18     Cercacor. See supra ¶¶ 209, 218. Rather, Dr. Lamego independently developed the
           19     techniques in the MATLAB script (JTX-846, JTX-880) that formed the basis for the
           20                                   as an Apple employee. Id. ¶¶ 219-220.
           21            394. Plaintiffs failed to prove that Apple has used D10 in any way, including in
           22     any Apple Watch model—all use a different double-sided DCS technique that Apple
           23     independently developed and used before Apple hired Dr. Lamego. See supra ¶¶ 157,
           24     236.
           25            395. Plaintiffs did not prove that Apple Watch
           26              or that any demodulation technique actually used in Apple Watch was
           27     substantially derived from D10. Supra ¶¶ 157, 236; SkinMedica, 869 F. Supp. 2d at
           28     1197; Bladeroom, 2018 WL 514923, at *8-9.

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             1          396. Plaintiffs failed to prove that Apple used D10 as “negative know-how.”
             2          B.     Apple Did Not Have the Requisite Intent For Misappropriation
             3                 1.    No Requisite Intent For Direct Misappropriation
             4          397. Plaintiffs failed to establish that Apple used improper means to directly
             5    acquire knowledge of the alleged trade secrets from Plaintiffs, including in view of Mr.
             6    Kiani’s admission that Plaintiffs did not provide Apple with any trade secrets at the only
             7    direct meeting he had with Apple (in May 2013). See supra ¶ 282; see also Cal. Civ.
             8    Code § 3426.1(b)(2)(A).
             9          398. Plaintiffs failed to establish that Apple acquired the purported trade secrets
           10     through bribery. The mere act of “recruiting or hiring employees from another company,
           11     including from a competitor, does not on its own constitute improper means.” CJI at 43;
           12     Dkt. 1469 at 3. Plaintiffs failed to prove that Apple satisfied the elements of the crime
           13     of bribery—i.e., that Apple paid a current employee of Plaintiffs to hurt Plaintiffs’
           14     interests (as opposed to providing Dr. Lamego a compensation package upon hiring), or
           15     that Apple had specific intent to injure or defraud. See People v. Riley, 240 Cal. App.
           16     4th 1152, 1160-63 (2015) (discussing Penal Code § 641.3).
           17           399. Plaintiffs also failed to establish that Apple obtained any alleged trade
           18     secret through theft or misrepresentation. Both crimes require a showing of “fraudulent
           19     intent” (among many other things). See, e.g., People v. Miller, 81 Cal. App. 4th 1427,
           20     1440-41 (2000) (theft); Manderville v. PCG&S Grp., Inc., 146 Cal. App. 4th 1486, 1498
           21     (2007) (misrepresentation). Here, there is no evidence that Apple even “knew or should
           22     have known” that Dr. Lamego’s technical proposals breached any duty he owed to
           23     Plaintiffs, much less that any Apple employee had fraudulent intent to induce Dr.
           24     Lamego to disclose Plaintiffs’ alleged trade secrets. In fact, the record shows just the
           25     opposite—that Apple employees took repeated steps to ensure that Dr. Lamego did not
           26     share confidential information from prior employers. See supra ¶¶ 15-17.
           27           400. Plaintiffs’ assertion that Apple has direct liability for inducing Dr. Lamego
           28     to breach a duty of confidentiality fails for a similar reason—intentional inducement

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             1    requires that a defendant “intended to induce its breach,” see Little v. Amber Hotel Co.,
             2    202 Cal. App. 4th 280, 291 (2011), and no such evidence exists here. See supra ¶¶ 13-
             3    17.
             4          401. Plaintiffs cannot show as a matter of law that Apple is vicariously liable for
             5    direct misappropriation by Dr. Lamego under the doctrine of respondeat superior. This
             6    Court reiterates that Apple is correct that “it is not appropriate … to impute an agent’s
             7    knowledge of a secret to the principal” at least where the agent “did not inform other
             8    employees of plaintiffs’ concept.” R50AO at 3; accord Carr v. AutoNation Inc., 2018
             9    WL 288018, at *2 (E.D. Cal. Jan. 4, 2018); see also Cisco Sys., Inc. v. Chung, 2023 WL
           10     2622155, at *12 (N.D. Cal. Mar. 22, 2023) (vicarious liability in the trade secret context
           11     does not extend to the intent requirement). This approach properly reflects the agency
           12     law rule that “where the principal must have actual knowledge” under the applicable
           13     standard of liability, the uncommunicated knowledge of an agent is not imputed to the
           14     principal. See Herman v. Los Angeles Cnty. Metro. Transp. Auth., 71 Cal. App. 4th 819,
           15     828 n.7 (1999); see also 2B Cal. Jur. 3d Agency § 104 (similar).
           16           402. Although Plaintiffs have repeatedly requested reconsideration of this
           17     ruling, this Court “does not intend to revisit it.” R50BO at 18 n.7. In any event, were
           18     this Court to consider the doctrine, Plaintiffs have not met their burden to prove that Dr.
           19     Lamego had the requisite intent.
           20                  2.     No Requisite Intent For Indirect Misappropriation
           21           403. Plaintiffs failed to prove that Apple had the required state of mind for
           22     indirect misappropriation—i.e., that before the asserted acquisition, use, or disclosure
           23     occurred, someone at Apple knew or had reason to know that Apple had improperly
           24     obtained an alleged trade secret from Plaintiffs through Dr. Lamego. R50AO at 3; CJI-
           25     31; see also California Police Activities League v. California Police Youth Charities,
           26     Inc., 2009 WL 537091, at *3 (N.D. Cal. Mar. 3, 2009).
           27           404. As discussed, Plaintiffs cannot prove the requisite “known or should have
           28     known” standard based on Dr. Lamego’s knowledge that information he provided to

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             1    other Apple employees was acquired through improper means. R50AO at 3. Nor can
             2    Plaintiffs logically rely on the mere fact that Apple hired Dr. Lamego away, given
             3    California’s policy in favor of employee mobility. Hooked Media Grp., Inc. v. Apple
             4    Inc., 55 Cal. App. 5th 323, 332 (2020). Apple took multiple affirmative steps to prevent
             5    Dr. Lamego from using or disclosing any confidential information from a former
             6    employer, including explaining its policy (which Dr. Lamego signed) that prevented Dr.
             7    Lamego from using or disclosing any confidential information from a former employer.
             8    See supra ¶ 15. Dr. Lamego “affirmatively stated” to his colleagues at Apple “that he
             9    was taking care to avoid intellectual property conflicts.” Id. ¶ 27; JTX-3050 at 2.
           10           C.     Plaintiffs Failed To Prove Harm
           11           405. Having failed to prove any misappropriation, Plaintiffs necessarily failed
           12     to prove that the purported misappropriation caused them harm. But even under
           13     Plaintiffs’ theories of misappropriation, Plaintiffs do not begin to show the alleged
           14     misappropriation caused them any harm. See supra ¶¶ 226-237.
           15           406. Plaintiffs’ failure to show harm is fatal to their claim under CUTSA, which
           16     requires Plaintiffs to prove that Apple’s alleged “acquisition, use, or disclosure of the
           17     trade secret was a substantial factor in causing the[m] … harm.” AMN Healthcare, 28
           18     Cal. App. 5th at 942. This requirement applies even where the plaintiff is not seeking
           19     damages for an “actual loss” suffered. See Unilogic Inc. v. Burroughs Corp., 10 Cal.
           20     App. 4th 612, 626 (1992).17
           21           407. Plaintiffs have shown no harm caused by the alleged misappropriation.
           22           408. Plaintiffs have not alleged Apple disclosed L4, and thus cannot show that
           23     they were harmed by any such disclosure. PMCLF at 7-8 (no theory of L4 disclosure).
           24           409. Plaintiffs have not articulated any theory by which Apple’s purported
           25     disclosure of L5 (to           ) caused them any harm.
           26     17
                     Apple acknowledges that this Court’s jury instructions did not require Plaintiffs to
           27     show harm to establish liability. However, this Court appears to have reached that result
                  because Plaintiffs were seeking a reasonable royalty. Dkt. 1500-1 at 206 (Plaintiffs
           28     arguing that reasonable royalty could be awarded without proving harm). Plaintiffs have
                  since waived their claim for royalties. See supra ¶ 294.
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             1           410. Plaintiffs have not presented any evidence that they were harmed by
             2    Apple’s alleged disclosure of D1, D3, and D10                                . For example,
             3    Plaintiffs have not presented any evidence that                                         changed
             4    their business or their overall industry.
             5           411. Plaintiffs have not presented any evidence that Apple’s alleged use of L4
             6    and L5 harmed Plaintiffs in any way such as through, e.g., lost sales. See supra ¶¶ 227-
             7    234.
             8           412. Plaintiffs concede that Apple Watch does not incorporate D1, D3, or D10,
             9    and they have not presented any evidence that Apple’s supposed use of D1, D3, or D10
           10     in research and development harmed Plaintiffs in any way. See supra ¶¶ 235-236.
           11     According to Plaintiffs, Apple’s knowledge of the DCS algorithm led it to use what
           12     Plaintiffs contend is a less accurate algorithm. Dkt. 2218-1 ¶ 326 (alleging “potential
           13     future use of D1, D3 and D10 in an Apple Watch, would improve the accuracy”).
           14            413. Plaintiffs    have     failed   to   substantiate   claims     that   the   alleged
           15     misappropriation had any chilling effect on innovation at Masimo; claims that are belied
           16     by Masimo’s own patent filings. See supra ¶ 235.
           17            414. To the extent Plaintiffs argue they were harmed by Apple’s alleged
           18     misappropriation because—due to the misappropriation—Apple did not enter into a
           19     business arrangement with Plaintiffs in 2013, this Court has already barred Plaintiffs
           20     from relying on that theory as a discovery sanction. Dkt. 1283 at 6-8. In any event,
           21     Plaintiffs have not identified any causal link between Apple’s purported use of the
           22     alleged trade secrets and Apple’s decision not to go into business with Masimo.
           23            415. Although Plaintiffs waived any claim to unjust enrichment, they contend
           24     that Apple was unjustly enriched because the alleged trade secrets supposedly allowed
           25     Apple to create Apple Watch’s Blood Oxygen feature. Plaintiffs identify no authority
           26     that permits a party to replace the AMN/Unilogic requirement to show harm (i.e., a
           27     detriment to the plaintiff) with a showing of unjust enrichment (i.e., a benefit to the
           28     defendant). In any event, Plaintiffs have not identified any causal link between Blood

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             1    Oxygen and any of these alleged trade secrets. See supra ¶ 234.
             2          416. Plaintiffs offer no evidence connecting D1, D3, and D10—which are
             3    indisputably not used—or L5, which has allegedly been used since the Series 1—to the
             4    Blood Oxygen feature or its profits. Rather, Apple considered and rejected proposals
             5    from Dr. Lamego to replace solutions Apple had already implemented; if anything, Dr.
             6    Lamego’s rejected proposals cost Apple time.
             7          417. Plaintiffs’ sole link between L4 and Blood Oxygen—
             8
             9
           10                              —
           11                                                                . See supra ¶ 95. At best,
           12     Plaintiffs’ L4 theory asks this Court to draw “inferences … from [the] circumstances
           13     [that] are consistent with [Plaintiffs’] theory,” which is insufficient to establish
           14     causation. See Bowman v. Wyatt, 186 Cal. App. 4th 286, 312-13 (2010).
           15           D.    Affirmative Defenses 18
           16                 1.     Statute of Limitations
           17           418. The Court held after the first trial “that [L4, L5, D1, D3, and D10] are
           18     related for purposes of the statute of limitations” (R50BO at 19), and thus “as soon as
           19     Plaintiffs were (or should have been) on notice of Lamego’s alleged misappropriation,
           20     the statute of limitations began to run for the technical trade secrets.” Id.; accord
           21     Cypress Semiconductor Corp. v. Superior Court, 163 Cal. App. 4th 575, 584 (2008).
           22           419. The Court also “adopt[ed] the parties’ agreement” that “since the alleged
           23     misappropriation derives from Lamego, Apple has met prong (1) [of the statute of
           24     limitations defense]”—i.e., “proving that any alleged misappropriation first occurred
           25     before January 9, 2017.” R50BO at 17, 19. The Court expressly stated that this ruling
           26     would apply to “any future trial,” R50BO at 17; see also Dkt. 2177-1 at 14.
           27     18
                    Apple acknowledges the Court’s prior rulings on its unclean hands (Dkt. 1526, Dkt.
           28     1900 at 5), and readily ascertainable defenses. Dkt. 1284. Accordingly, Apple does not
                  re-raise those issues here, but preserves the full scope of those defenses for appeal.
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             1          420. “Since it is undisputed that the alleged misappropriation of trade secrets [in
             2    2014] took place outside the limitations period,” Plaintiffs “have the burden of proving
             3    the facts necessary to toll the statute,” Gabriel Techs. Corp. v. Qualcomm Inc., 857 F.
             4    Supp. 2d 997, 1003 (S.D. Cal. 2012)—i.e., that the alleged misappropriation was not
             5    “discovered or by the exercise of reasonable diligence should have been discovered”
             6    before January 9, 2017, Cal. Civ. Code § 3426.6.
             7          421. “Under California’s discovery rule, suspicion of wrongdoing will trigger
             8    the statute of limitations. Consequently, ‘when there is reason to suspect that a trade
             9    secret has been misappropriated, and a reasonable investigation would produce facts
           10     sufficient to confirm this suspicion (and justify bringing suit), the limitations period
           11     begins, even though the plaintiff has not conducted such an investigation.’” Gabriel
           12     Techs., 857 F. Supp. 2d at 1003 (citation omitted). California courts “do not take a
           13     hypertechnical approach to the application of the discovery rule” in § 3426.6. Cypress
           14     Semiconductor Corp., 163 Cal. App. 4th at 586. “Rather than examining whether the
           15     plaintiffs suspect facts supporting each specific legal element of a particular cause of
           16     action, [courts] look to whether the plaintiffs have reason to at least suspect that a type
           17     of wrongdoing has injured them.” Id.
           18           422. Plaintiffs have not met their burden to show that they lacked “reason to
           19     suspect … misappropriat[ion]” under circumstances where “a reasonable investigation
           20     would produce facts sufficient to confirm this suspicion.” Dkt. 606 at 3.
           21           423. To the contrary, the record shows that Plaintiffs had sufficient “suspicion
           22     of wrongdoing”—under their own misplaced theory of misappropriation—at least by
           23     January 2014. At that time, Plaintiffs sent Apple a letter stating “[i]t is difficult to
           24     imagine any reason [for Apple to hire Lamego] other than Apple … attempting to gain
           25     access to … Cercacor and Masimo’s trade secrets” and that “Apple [would] … misus[e]
           26     our intellectual property through Lamego.” See supra ¶ 14. Indeed, Mr. Kiani’s
           27     summary of the letter’s thesis—i.e., that “Apple had already approached Masimo about
           28     a possible collaboration but had abandoned these discussions without explaining why

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             1    and was targeting Masimo and Cercacor personnel for hiring,” Kiani Direct ¶ 210—also
             2    describes Plaintiffs’ theory of the case here.
             3          424. As this Court has previously suggested, Mr. Kiani’s testimony that he was
             4    informed by Cristano Dalvi in the summer of June 2014 that Dr. Lamego left Apple to
             5    avoid competing with Plaintiffs (which Plaintiffs’ January 2014 letter asserted would
             6    necessitate trade secret misappropriation) supports the conclusion that Plaintiffs had a
             7    suspicion of wrongdoing prior to the statute of limitations period. Dkt. 2348 at 2.
             8          425.    Plaintiffs also failed to prove that a reasonable investigation could not have
             9    confirmed the essential factual basis for their CUTSA claim before January 9, 2017. The
           10     simple investigative step of monitoring for Dr. Lamego’s name in patent filings would
           11     have made Plaintiffs aware of the ’052 patent application on or about March 3, 2016,
           12     and that application (which listed Dr. Lamego as an inventor) expressly disclosed that
           13     Dr. Lamego had worked on technology that Plaintiffs in January 2014 had insisted would
           14     necessarily implicate their alleged trade secrets. Mr. Kiani also testified that Plaintiffs
           15     routinely made such searches before “launching a product” and that Plaintiffs were
           16     “working on a wearable product” as early as 2014. See supra ¶¶ 274-278.
           17           426. Accordingly, Plaintiffs’ trade secret misappropriation claim is time-barred
           18     under Cal. Civ. Code § 3426.6.
           19                  2.     Waiver
           20             427. Plaintiffs’ misappropriation claims and associated requests for relief have
           21     been waived. A plaintiff waives any right to obtain relief when it “knowing[ly] or
           22     intelligent[ly]” engages in “conduct … so inconsistent with an intent to enforce its rights
           23     as to induce a reasonable belief that such right has been relinquished.” Qualcomm Inc.
           24     v. Broadcom Corp., 548 F.3d 1004, 1020 (Fed. Cir. 2008) (emphasis omitted).
           25             428. Apple proved by clear and convincing evidence that Plaintiffs waived their
           26     right to obtain relief for the alleged misappropriation because they did nothing for nearly
           27     six years to follow up on their January 2014 warning letter to Apple, despite being put
           28     on notice of key facts upon which they eventually sued. See supra ¶¶ 273-278.

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             1            429. Plaintiffs’ waiver was knowing and intelligent. They are sophisticated and
             2    experienced litigants in intellectual property cases, and they have been continually
             3    advised on these issues by their counsel. See, e.g., supra ¶ 14. See Jolly v. Eli Lilly &
             4    Co., 44 Cal. 3d 1103, 1111 (1988) (plaintiff has a duty to timely file once it could have
             5    learned facts sufficient to justify a misappropriation claim).
             6                 3.     Laches
             7          430. Laches is an available defense to a CUTSA claim seeking equitable relief,
             8    such as an injunction and attorneys’ fees. See, e.g., Whittaker Corp. v. Execuair Corp.,
             9    1980 WL 787350, at *2 (C.D. Cal. Mar. 21, 1980).
           10           431. Laches bars relief where a plaintiff “unreasonabl[y] delay[ed]” filing suit
           11     or did not diligently pursue its claim and either (1) the plaintiff “acquiesce[d] in the act
           12     about which [it] complains” or (2) “prejudice to the defendant result[ed] from the delay.”
           13     Johnson v. Loma Linda, 24 Cal. 4th 61, 68 (2000).
           14           432. Here, had Plaintiffs exercised reasonable diligence, they would have known
           15     of their claims by no later than March 2016. See supra ¶¶ 274-277. They did not file
           16     this suit until January 9, 2020. That delay was unreasonable.
           17           433. Plaintiffs acquiesced in Apple’s accused conduct through “extended
           18     inactivity” with respect to their CUTSA claim and “lengthy gaps in [their] contacts with
           19     [Apple].” Pacific Hills Homeowners Assn. v. Prun, 160 Cal. App. 4th 1557, 1565
           20     (2008). In addition, Plaintiffs’ delay was prejudicial to Apple, as it created “evidentiary
           21     prejudice” that unfairly harmed Apple’s presentation at trial, Danjaq LLC v. Sony Corp.,
           22     263 F.3d 942, 952, 955 (9th Cir. 2001), and because “because [Apple] continued
           23     engaging in its existing practices,” Whittaker Corp. v. Execuair Corp., 736 F.2d 1341,
           24     1347 (9th Cir. 1984).
           25           434. Laches precludes Plaintiffs from obtaining an injunction or attorneys’ fees.
           26           E.     Remedies
           27           435. Plaintiffs have not established that Apple should be liable for trade secret
           28     misappropriation. But even if they had done so, they have not established that they are

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             1    entitled to a remedy for that misappropriation because they have voluntarily waived most
             2    forms of relief and have not established an entitlement to the remainder.
             3          436.    Under CUTSA, Plaintiffs have expressly waived the right to seek an unjust
             4    enrichment award, punitive damages, and a reasonable royalty. See supra ¶ 294.
             5    Plaintiffs’ lost profits theory was struck, and Plaintiffs have since voluntarily waived the
             6    right to appeal that decision, effectively foregoing lost profits. Id.
             7          437. Four years into this litigation that Plaintiffs previously asserted was worth
             8    billions of dollars, the only remedies Plaintiffs seek are an injunction and attorneys’ fees.
             9    This Court holds that they are entitled to neither.
           10                  1.     Plaintiffs Are Not Entitled To Injunctive Relief
           11                         a)     Plaintiffs’ Injunction Request Is Barred By FRCP 37(c)(1)
           12           438. FRCP 37(c)(1) bars Plaintiffs from pursuing an injunction because they did
           13     not timely disclose what injunctive relief they would seek, articulate a theory upon which
           14     they would be entitled to such relief, or disclose any facts relevant to the factors that
           15     would need to be evaluated in any injunction analysis.
           16           439. Before Plaintiffs’ October 30, 2024 Proposed Findings of Fact and
           17     Conclusions of Law, Plaintiffs had provided no meaningful information about the basis
           18     for any claim for injunctive relief or the scope of the relief that would be sought.
           19           440. In particular, Plaintiffs have never provided a substantive response to
           20     Apple’s Interrogatory No. 17, which asked Plaintiffs to “[s]tate in detail all factual and
           21     legal bases for Your contention that You are entitled to any relief in this case, including
           22     … injunctive relief.” Dkt. 2181-2 at 5. Since that interrogatory was first served in 2020,
           23     Plaintiffs have supplemented it twelve times—most recently in July 2024—and have
           24     never identified their purported basis for seeking an injunction. Id. at 6, 13, 21.
           25           441. Nor was information about Plaintiffs’ proposed injunction provided in
           26     other documents.      For example, Plaintiffs’ October 15, 2024 Memorandum of
           27     Contentions of Fact and Law describes relief sought, but makes no mention of an
           28     injunction request. Plaintiffs’ other filings that refer to an injunction do so only in

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             1     passing and without explanation. E.g., Dkt. 296-1 at 132 (complaint).
             2           442. Plaintiffs’ failure to provide discovery about their request for injunctive
             3     relief means that the request “is untimely and should be excluded under Rule 37(c)(1).”
             4     Dkt. 1526 at 1 (excluding part of Apple’s unclean hands defense).
             5           443. “[N]either of the[] exceptions” to Rule 37(c)(1)—substantial justification
             6     or harmlessness—“applies here.” Yeti by Molly, Ltd. v. Deckers Outdoor Corp., 259
             7     F.3d 1101, 1106 (9th Cir. 2001).
             8           444. Plaintiffs have not shown that their decision to provide no details regarding
             9     their request for injunctive relief throughout four years of litigation was justified.
           10            445. Plaintiffs have also not met their burden to show harmlessness, nor could
           11      they. Plaintiffs’ failure to disclose anything about the sole meaningful remedy left in
           12      the case deprived Apple of the opportunity to take discovery on Plaintiffs’ theories of
           13      irreparable harm and precluded Apple from obtaining opinions from their expert
           14      witnesses on any aspect of Plaintiffs’ claim for injunctive relief.
           15            446. At the October 28, 2024 pretrial conference, Plaintiffs suggested for the
           16      first time that they had preserved their right to seek a permanent injunction because they
           17      filed a motion for a preliminary injunction in August 2020. 10/28/24 Tr. 19; Dkt. 116.
           18      But the motion provides no guidance regarding Plaintiffs’ current theories, as it was
           19      based on an alleged trade secret no longer at issue and sought narrow relief regarding
           20      advance notice of publication (Dkt. 206 at 3), untethered to the current broad requests.
           21      Dkt. 2218-1 at 116 (Plaintiffs’ current requested injunctive relief).
           22            447. Plaintiffs’ request for injunctive relief is stricken under Rule 37(c)(1).
           23                          b)     The eBay Factors Do Not Support An Injunction
           24            448. Even if Plaintiffs had proven liability and their request for an injunction
           25      were not barred by Rule 37(c)(1), this Court would hold that no injunction is appropriate.
           26            449. This Court has previously held that the test laid out in eBay Inc. v.
           27      MercExchange, LLC, 547 U.S. 388 (2006), governs whether to award a permanent
           28      injunction in an “action for trade secret misappropriation under CUTSA.”                 True

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             1     Wearables, 2022 WL 17083396, at *30.
             2           450. Under eBay, “a plaintiff seeking a permanent injunction must …
             3     demonstrate: (1) that it has suffered an irreparable injury; (2) that remedies available at
             4     law, such as monetary damages, are inadequate to compensate for that injury; (3) that,
             5     considering the balance of hardships between the plaintiff and defendant, a remedy in
             6     equity is warranted; and (4) that the public interest would not be disserved by a
             7     permanent injunction.” 547 U.S. at 391. All four eBay factors weigh against an
             8     injunction here.
             9           451.    First, Plaintiffs have not proven any coherent theory of harm, irreparable
           10      or otherwise, resulting from Apple’s alleged misappropriation. See supra ¶¶ 226-237.
           11            452. To the extent that Plaintiffs assert that they are entitled to a presumption of
           12      irreparable harm upon a finding of liability, the Ninth Circuit has rejected this argument.
           13      See Citcon USA, LLC v. RiverPay Inc., 2022 WL 287563, at *2 (9th Cir. Jan. 31, 2022)
           14      (“Citcon’s argument, which is essentially that injunctive relief automatically flows from
           15      a successful trade secret misappropriation claim, is untenable.”).
           16            453. Moreover, irreparable harm may not be based on speculative injury[.]” San
           17      Miguel Pure Foods Co., Inc. v. Ramar Intern. Corp., 625 Fed. Appx. 322, 327 (9th Cir.
           18      2015) (reversing grant of a permanent injunction because “district court's finding of
           19      irreparable harm was based on the speculation that ‘Ramar would effectively lose control
           20      over the Magnolia brand,’ not that it actually had”) (emphasis in original); see also Herb
           21      Reed Enterprises, LLC v. Fla. Ent. Mgt., Inc., 736 F.3d 1239, 1249 (9th Cir. 2013)
           22      (observing in trademark context “actual irreparable harm must be demonstrated to obtain
           23      a permanent injunction”). Plaintiffs’ alleged harms are entirely speculative, and they
           24      have failed to show that irreparable harm absent injunctive relief is ‘likely,’ not merely
           25      ‘possible.’” AK Futures LLC v. Smoke Tokes LLC, 2024 WL 4720883, at *7 (C.D. Cal.
           26      Sept. 24, 2024) (Selna, J.) (denying preliminary injunction).
           27            454. Second, Plaintiffs are precluded from receiving an injunction because they
           28      have not shown “that remedies available at law… are inadequate.” eBay, 547 U.S. at

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             1     391. To the contrary, Plaintiffs have long acknowledged that any injury they allege to
             2     have suffered from Apple’s purported misappropriation is compensable via money—
             3     whether through a reasonable royalty or lost profits—and any purported benefit to Apple
             4     is redressable through an award for unjust enrichment. Plaintiffs have provided detailed
             5     calculations for each potential form of relief at various points in this case, seeking many
             6     billions of dollars. Such remedies are not inadequate; rather, Plaintiffs have simply
             7     chosen to forfeit them.
             8           455. CUTSA’s injunction provision is not meant to be invoked in such a
             9     situation. Rather, it is reserved for cases “(1) where pecuniary compensation would not
           10      afford adequate relief or (2) where ascertaining adequate compensation would be
           11      extremely difficult.” Robert L. Cloud & Associates, Inc., v. Mikesell, 69 Cal. App. 4th
           12      1141, 1150 (1999). Neither condition applies here
           13            456. Indeed, that Plaintiffs have “voluntarily chose[n] to forego a legal remedy
           14      does not mean that ‘no adequate legal remedy’ exists.” Bennett v. Isagenix Int’l LLC,
           15      118 F.4th 1130, 1129-30 (9th Cir. 2024). To the contrary, as the Supreme Court has
           16      long held, “where an adequate remedy at law exists, ‘the party seeking redress must
           17      pursue it.’” Parker v. Winipiseogee Lake Cotton & Woollen Co., 67 U.S. 545, 551
           18      (1862). A party “cannot bolster its case for equitable relief by abandoning its request
           19      for … damages.” TD Bank N.A. v. Hill, 928 F.3d 259, 282-83 (3d Cir. 2019); accord
           20      Asphalt Trader Ltd. v. Beall, 2024 WL 698313, at *9 (10th Cir. Feb. 21, 2024)
           21      (“Plaintiffs cannot artificially adjust their damages this way to claim that they have no
           22      adequate remedy at law and must resort to an equitable claim”); Bennett, 118 F.4th at
           23      1129-30 (“relinquishment of what would otherwise be an legal adequate remedy …
           24      should not suffice for purposes of” establishing right to injunction).
           25            457. Third, Plaintiffs have failed to establish that the balance of the equities
           26      favor an injunction. Because Plaintiffs have identified no cognizable harm caused by
           27      Apple’s purported misappropriation, there is nothing to balance against. In any event,
           28      an injunction of the breadth Plaintiffs are seeking would limit Apple’s ability to sell the

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             1     accused Watches with myriad features that have no connection to the alleged trade
             2     secrets and harm Apple’s position in the marketplace. See supra ¶¶ 238-244. In sum,
             3     Plaintiffs’ position is that a small set of tiny slivers of technology (only one even
             4     assertedly in Apple Watch, the one accused short circuit out of millions of electrical
             5     circuits) justifies an injunction against the entire Apple Watch and the many features on
             6     which the marketplace depends. That is not consistent with eBay’s equitable framework.
             7           458. Finally, Plaintiffs have not established that the public interest favors an
             8     injunction. An injunction of the breadth Plaintiffs are seeking could well “disrupt related
             9     third-party businesses, such as [Apple’s] suppliers.”          Fractus, S.A. v. Samsung
           10      Electronics Co., 876 F. Supp. 2d 802, 854 (E.D. Tex. 2012). Moreover, the public has
           11      a strong interest in continued access to the many health and wellness features in the
           12      accused Watches with no connections to Plaintiffs’ allegations. See supra ¶¶ 2, 238.
           13            459. Thus, this Court denies Plaintiffs’ request for a permanent injunction.
           14                          c)    Injunction Scope
           15            460. Even if this Court were to find an injunction were appropriate, Plaintiffs
           16      have not established a right to anything more than a narrow injunction focused on the
           17      alleged trade secrets rather than Apple Watch itself.
           18            461. As in True Wearables, it “is undisputed that [Apple Watch] was designed
           19      with many [non-trade secret] components and Plaintiffs have not shown why they should
           20      acquire the non-protected aspects of the” Apple Watch. 2022 WL 17083396, at *31. As
           21      detailed above, Apple Watch includes myriad health, wellness, and communication
           22      features that lack even arguable connection to the alleged trade secrets at issue in this
           23      case. See supra ¶¶ 2, 238.
           24            462. Accordingly,       this   Court    follows    the    normal    approach     that
           25      “[m]isappropriation of a process, formula or other trade secret matter used in the
           26      manufacture or preparation of a product is … sanctioned by a restraint on the use of the
           27      process, formula or other trade secret” rather than a broader injunction on the product in
           28      which it is used. 4 Miligrim on Trade Secrets § 15.02. This approach will ensure that

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             1     the injunction “is narrowly tailored to protect Plaintiffs’ interest without providing a
             2     windfall to Plaintiffs.” True Wearables, 2022 WL 17083396, at *31.
             3           463. Moreover, the injunction cannot encompass D10 even if Apple is found to
             4     have misappropriated that alleged secret. This is because CUTSA provides that “an
             5     injunction shall be terminated when the trade secret has ceased to exist,” Cal. Civ. Code
             6     § 3426.2(a), and Mr. Kiani conceded during the April 2023 trial that D10 is “not a trade
             7     secret anymore” because it was                               , 4/6/23 AM Tr. 110. This
             8     Court agreed with Mr. Kiani, noting the fact that D10 is not a secret was a “point…
             9     established by the record.” 4/11/23 PM Tr. 8:18-19.
           10            464. While an injunction “may be continued for an additional period of time in
           11      order to eliminate commercial advantage that otherwise would be derived from the
           12      misappropriation,” Cal. Civ. Code § 3426.2(a), this exception is inapplicable. Plaintiffs
           13      have not proven that Apple obtained any “commercial advantage” from the information
           14      identified by D10. It is undisputed that Apple does not use, and has never used, D10 in
           15      Apple Watch. Sarrafzadeh Direct ¶ 175.
           16            465. For similar reasons, the injunction cannot encompass D1 or D3 because D1
           17      is fully disclosed in a Masimo patent that issued in 2018 (“Weber 2018”), supra ¶ 164,
           18      and—accepting Plaintiffs’ position—the                          D1 and D3, id. ¶ 221 n.
           19      9. As with D10, the Cal. Civ. Code § 3426.2(a) commercial advantage exception is
           20      inapplicable, because it is undisputed that Apple does not use and has never used D1 or
           21      D3 in Apple Watch.
           22                   2.    Plaintiffs Are Not Entitled To Attorneys’ Fees or Costs
           23            466. Plaintiffs did not establish by “clear and convincing evidence” that Apple
           24      willfully and maliciously misappropriated any alleged trade secret. Vacco Indus. v. Van
           25      Den Berg, 5 Cal. App. 4th 34, 54 (1992); see also R50AO at 19 (“The Court has ruled
           26      already that willfulness and [maliciousness] under CUTSA must be proven by clear and
           27      convincing evidence.”).
           28            467. Plaintiffs did not preserve their request for costs under CUTSA, since their

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             1     operative complaint seeks only attorneys’ fees, but not costs, under CUTSA, whereas
             2     they sought fees and costs arising from their patent claims. Dkt. 296-1 at 132.
             3           468. Plaintiffs’ failure to prove that Apple intentionally misappropriated means
             4     a fortiori they failed to prove willful and malicious misappropriation. See In re Lopez,
             5     378 F. App’x 610, 612 (9th Cir. 2010); Ajaxo Inc. v. E*Trade Grp. Inc., 135 Cal. App.
             6     4th 21, 66 (2005).
             7           469. Even if there had been evidence proving that Apple had intent sufficient for
             8     CUTSA liability, the record provides no basis from which “malice [by Apple] may be
             9     proven either expressly by direct evidence probative of the existence of hatred or ill-
           10      will, or by implication from indirect evidence.” Ajaxo, 135 Cal. App. 4th at 66-67.
           11            470. There is no evidence from which to infer that Apple’s hiring of Dr. Lamego
           12      “intended … to cause injury to [Plaintiffs]” or that this was “[d]espicable[,] … vile and
           13      wretched.” Ajaxo, 135 Cal. App. 4th at 66. Apple took affirmative steps to avoid
           14      disclosure of others’ confidential information by Dr. Lamego. See supra ¶¶ 15-17.
           15            471. Finally, even if this Court had found that Apple engaged in willful and
           16      malicious behavior, it would still exercise its discretion to deny attorneys’ fees and costs
           17      in this case. “[A]ttorney’s fees are not automatic,” and just as in True Wearables,
           18      Plaintiffs have once against “drove the trajectory of this case in a manner that required
           19      both parties to spend a significant amount on attorneys’ fees as they prepared for trial.”
           20      2022 WL 17083396, at *33.
           21            472. In the over four “years after the case was filed, … Plaintiffs ha[ve] whittled
           22      their intellectual property case down to a handful of trade secrets,” have dropped claims
           23      for tens of billions of dollars of monetary relief, and “demand[ed] a bench trial over
           24      [Apple’s] objection.” True Wearables, 2022 WL 17083396, at *33. “Against this
           25      backdrop, the Court finds it would be inequitable to award Plaintiffs attorneys’ fees in a
           26      trade secrets case they seemingly protracted for years.” Id.
           27                   3.      Apple Is Entitled To Attorneys’ Fees
           28            473. Apple is entitled to attorneys’ fees on Plaintiffs’ CUTSA claims under Cal.

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             1     Civ. Code § 3426.4, which “authorizes attorneys’ fees when ‘a claim of
             2     misappropriation is made in bad faith.’” Direct Techs., LLC v. Elec. Arts, Inc., 836 F.3d
             3     1059, 1071 (9th Cir. 2016). Attorneys’ fees “may be proper even if the claim is not
             4     frivolous” and even if the claim “superficially appear[s] to have merit.” Id. The test is
             5     whether the plaintiffs’ claim is objectively specious and whether the plaintiff had
             6     “subjective bad faith in bringing or maintaining the claim.’” Id.
             7            474. Here, Plaintiffs here spent half a decade litigating a CUTSA claim that
             8     initially involved dozens of alleged trade secrets. Of the ten alleged secrets Plaintiffs
             9     ultimately brought to trial, this Court has already found that no reasonable jury could
           10      have found liability on five. Moreover—on the eve of the retrial—Plaintiffs forfeited
           11      their requests for monetary relief that they once claimed was worth billions and told this
           12      Court during opening statements to “forget about money. It was a diversion.” 11/5 AM
           13      Tr. [Opening] 30:22-23. Finally, as explained above, Plaintiffs have failed to state a
           14      viable trade secret claim for numerous reasons, including because they lack possession
           15      of any of the five remaining alleged trade secrets. In short, Plaintiffs’ trade secret claim
           16      is clearly meritless and its method of litigating that claim “raises an inference of
           17      subjective bad faith,” including “the intention of causing unnecessary delay” and a
           18      “purpose of harassing [Apple].” Gemini Aluminum Corp. v. Cal. Custom Shapes, Inc.,
           19      95 Cal. App. 4th 1249, 1263 (2002).
           20      III.   PATENT INVENTORSHIP AND OWNERSHIP CLAIMS
           21             475. Plaintiffs have failed to “meet the heavy burden” to prove by clear and
           22      convincing evidence that one or more of their employees made a significant contribution
           23      to at least one claim of any of the patents at issue, and thus have failed to prove their
           24      claim seeking to correct inventorship. See Eli Lilly & Co. v. Aradigm Corp., 376 F.3d
           25      1352, 1358-59 (Fed. Cir. 2004) (“Contributions to realizing an invention may not
           26      amount to a contribution to conception if they merely explain what was ‘then state of
           27      the art’” or “if they are too far removed from the real-world realization of an
           28      invention.”); Board of Education ex rel. Board of Trustees Florida State Univ. v. Am.

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             1     Bioscience Inc., 333 F.3d 1330, 1337 (Fed. Cir. 2003); CJI-41; see also Fed. Cir. Bar
             2     Assoc., Model Patent Jury Instr. § 4.3d (2020). This Court cannot rely solely on the
             3     alleged co-inventor’s testimony, which “must be corroborated.” Ruling Meng, 643 F.
             4     App’x at 994.
             5           476. To succeed on their inventorship claims, Plaintiffs must prove that each
             6     disputed patent claims a “joint invention”—i.e., “the product of collaboration” among
             7     the putative co-inventors, who were “working together to solve the problem addressed.”
             8     Univ. of Pittsburgh of Commonwealth Sys. of Higher Educ. v. Hedrick, 573 F.3d 1290,
             9     1297 (Fed. Cir. 2009); accord Pannu v. Iolab Corp., 155 F.3d 1344, 1351 & n.2 (Fed.
           10      Cir. 1998); Dana-Farber Cancer Inst., Inc. v. Ono Pharm. Co., 964 F.3d 1365, 1372-73
           11      (Fed. Cir. 2020).19
           12            477. Because Plaintiffs have not shown by clear and convincing evidence that
           13      Mr. Diab was a co-inventor of any of the ’095, ’390, ’052 or ’670 patents, they cannot
           14      claim co-ownership of the patents based on his work. See supra ¶¶ 246-254 (’095 and
           15      ’390 patents), 262-267 (’052 and ’670 patents). Nor can they establish ownership of any
           16      of the disputed Apple patents from Dr. Lamego’s work: there is no evidence that Dr.
           17      Lamego invented the claimed concepts while employed by Masimo or Cercacor, so the
           18      relevant work was not subject to any contractual obligation for Dr. Lamego to assign
           19      Plaintiffs ownership of that work. See Beech Aircraft Corp. v. EDO Corp., 990 F.2d
           20      1237, 1248 (Fed. Cir. 1993).
           21            A.     ’052 and ’670 Patents (Inventorship and Ownership)
           22            478. Plaintiffs have not established by clear and convincing evidence that Mr.
           23      Diab should have been named as a co-inventor of either the ’052 or ’670 patents, as he
           24      did not collaborate with the named co-inventors and, at most, communicated concepts
           25      already known in the prior art, and in any event, Apple employees independently
           26      developed the claimed inventions while working at Apple. See supra ¶¶ 255-267.
           27
           28
                   19
                     Apple acknowledges that this Court did not adopt this formulation of the collaborative
                   enterprise requirement in its 2023 jury instructions. CJI-41.
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             1           479. Because Plaintiffs have not established Mr. Diab co-invented either patent,
             2     they cannot claim co-ownership of the patents based on his work.
             3           480. Nor did Plaintiffs prove ownership based on Dr. Lamego’s work, since
             4     there is no evidence that he did any work while in Plaintiffs’ employ that relates to his
             5     specific contribution to the ’052 and ’670 patents—i.e., using reflectivity on the back of
             6     a smartwatch—because there is no evidence that Dr. Lamego ever worked on any wrist-
             7     worn device while at Masimo or Cercacor. See supra ¶ 477.
             8           B.     ’754 Patent (Ownership)
             9           481. Plaintiffs failed to prove their claim for a declaratory judgment amending
           10      ownership of the ’754 patent because Plaintiffs did not show that Dr. Lamego invented
           11      the concepts in the ’754 patent while employed at Cercacor. See supra ¶¶ 268-272.
           12            C.     ’095 and ’390 Patents (Inventorship and Ownership)
           13            482. Plaintiffs have failed to prove by clear and convincing evidence that Mr.
           14      Diab should be added as a co-inventor of the ’095 and ’390 patents as he did not
           15      collaborate with the named co-inventors and, at most, communicated concepts already
           16      known in the prior art, and in any event, Apple employees independently developed the
           17      claimed invention while working at Apple. See supra ¶¶ 246-254.
           18            483. Because Plaintiffs have not shown by clear and convincing evidence that
           19      Mr. Diab was a co-inventor of either patent, they cannot claim co-ownership based on
           20      his work. Plaintiffs also fail to establish ownership based on Dr. Lamego’s work,
           21      because the evidence proves that Dr. Lamego invented the concepts he contributed while
           22      collaborating with Mr. Hotelling, as an Apple employee. See supra ¶ 477.
           23                                          CONCLUSION
           24            484. The Court grants judgment under Rule 52 in Apple’s favor on Plaintiffs’
           25      claims for misappropriation of trade secrets (Claim 13), correction of inventorship
           26      (Claims 14-16, 28), and declaratory judgment of patent ownership (Claims 20-23, 26).
           27      Plaintiffs’ claim for attorneys’ fees is denied as moot. Apple may file a motion for
           28      attorney’s fees within three weeks of this order.

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             1     IT IS SO ORDERED.
             2
             3     Date:                                       By:
             4                                                       Honorable James V. Selna
                                                                     United States District Judge
             5
             6
                   Dated: December 19, 2024              Respectfully submitted,
             7
             8
             9                                           MARK D. SELWYN
           10                                            JOSEPH J. MUELLER
                                                         AMY K. WIGMORE
           11                                            JOSHUA H. LERNER
           12                                            SARAH R. FRAZIER
                                                         NORA Q.E. PASSAMANECK
           13                                            THOMAS G. SPRANKLING
           14                                            WILMER CUTLER PICKERING HALE AND
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                                                         GIBSON, DUNN & CRUTCHER LLP
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           18                                            KENNETH G. PARKER
                                                         HAYNES AND BOONE, LLP
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           21                                            By: /s/ Mark D. Selwyn
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Wilmer Cutler
Pickering Hale      APPLE’S PROPOSED POST-TRIAL FINDINGS OF FACT AND CONCLUSIONS OF LAW
and Dorr LLP
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